             Case 1:23-cv-05294-RPK-LB                                                                                                                       Document 1-4        EXHIBIT       4
                                                                                                                                                                                      Filed 07/11/23      Page 1 of 7 PageID #: 53
                                                                                                                                                                               The "Grey Nuns"
                                                                                                                                                                                                                                                                                                                                                                                    10           The Lowell Sun
                                                                                                                                                                                                                                                                          Fraternal Activities                                                                                         Friday, September 18.

                                                                                                                                                                                               Picnic to Aid St.
                                                                                                                                                                                                                                                                               Anthony's Building Fund
                                                                                                                                                                                                                                          — ST. ANTHONY'S COM- j can Veterans and a few weeks
                                                                                                                                                                                                                                          MITTEE—Members ol Saint ago returned from a confer-
                                                                                                                                                                                                                                          Anthony's Church Building ence of all veterans' organiza-
                                                                                                                                                                                                                                          Kunct committee are complet- tions in Home. Leo Mongeau
                                                                                                                                                                                                                                          ing plans for the final picnic is chairman of the annual
                                                                                                                                                                                                                                          of the season, to be held a t ' ladies' night to be held on
                                                                                                                                                                                                                                          Holy Ghost park tomorrow Nov. 3. The Poland Spring
                                                                                                                                                                                                                                          and Sunday.                                         conclave is scheduled for next
                                                                                                                                                                                                                                              An entertainment program week and reservations now
                                                                                                                                                                                                                                          has been planned lor both days are being made.
                                                                                                                                                                                                                                          and with delicious dishes be-
                                                                                                                                                                                                                                          ing prepared by women o(                                A U X I L I A R Y P O L I C K—
                                                                                                                                                                                                                                          the parish. It is hoped thai a Uniformed men of the auxil-
                                                                                                                                                                                                                                          large sum will be raised to iary police in several Greater-
                                                                                                                                                                                                                                          help defray the cost ol the Lowell towns will attend the
                                                                                                                                                                                                                                          construction program now in third                                          annual                     Communion
                                                                                                                                                                                                                                          progress at the local church. breakfast of the Greater-Bos-                                                                                John F. Reiliy, Jr.
                                                                                                                                                                                                                                              A local orchestra has been ton Special and Auxiliary Po-
                                                                                                                                                                                                                                          engaged to furnish music for lice, to be held Sept. 27 In
                                                                                                                                                                                                                                          dancing on Saturday and on Watertown.
                                                                                                                                                                                                                                          Sunday the celebrated. "Five                             Men from Chetmsford. Con-
                                                                                                                                                                                                                                          Friends," will entertain with cord. Lowe!!, Tewksbury, and
                                                                                                                                                                                                                                                                                                                                                                                       Reiliy Named
                                                                                                                                                                                                                                          songs, skits and native danc- Woburn will lattcnd the mass
                                                                                                                                                                                                                                          ing,                                                that will be held at St.
                                                                                                                                                                                                                                              Honorary chairman of the Theresa's church, at 8:30 and
                                                                                                                                                                                                                                                                                                                                                                                       to UF Post
                                                              Grey Nuns On Television                                                                                                                                                     a f f a i r is Rev. John F. Silva, then go to the East Junior Jr.LOWELL                                                                                    — J o h n F. ReiNy,
                                                                                                                                                                                                                     Stocks               pastor of the church. The fol- high school lor the breakfast. named a section chairman in
                                                                                                                                                                                                                                                                                                                                                                                 of 33 Guild street, has been
       Shown above »re representatives of the Grey Nuns                           eral of the Grey Nuns of the Cross of Ottawa; Mother                                                                                                    lowing parishioners arc assist-                                                                                                the business division for the
       who will ba interviewed on ons of two programs to be
       televiseo 1 Sunday. From left to right, Mother Dorothy
                                                                                  Berthe Dorais, bursar-general of the Grey Nuni of
                                                                                  Charity, Montreal; Mother Louis de Montfort, bursar-
                                                                                                                                                                                                                        Decline           ing him: Manuel F. Mendonca,                             LOWELL LIONS — "Trans 1960 Greater-Lowell United
                                                                                                                                                                                                                                          .Mrs. Tehert P. Mello. Mrs. portation is the biggest single Fund campaign, Edward F.
                                                                                                                                                                                                                                          Mary S. Caldeira, Mrs. George factor effecting the growth ol O'Day, division chairman, Bald
       Reoco, provincial of the American province of the                          general of the Grey Nuns of the Cross of Ottawa, and                                                                                  Continues         C. Sousa and Mr. and Mrs. this country's economy." Ted today,
       Grey Nunj of Charijy ol Montreal; Sister Mary-Evelyn,                      Sister Mechtilde du Saint-Sacrament, of the Sisters of                                     NEW YORK (UPD—Stocks Belarmino C. Leite, Joseph Oslrowski of N'ashua Corpora                                                                                                                    Reiliy, employed as an In-
       G.N.S.H. superior of the Immaculate Conception                             Charity of Quebec, principal at the Franco-American                                    extended yesterday's latD de- Ferreira, Edward Santos, Te- tion, Nashua, N. II., told mem surance                                                                                                                        broker, will be in
                                                                                                                                                                                                                                                                                                                                                                         charge of Section E. During
       school, Lowell; Mother Marie-Edmond, secretary-gen-                        orphanage in Lowell.                                                                   cline 1 to 2 points today, but bert P. Mello, Mrs. Manuel hers of the Lowell Lions club past United Fund campaigns
                                                                                                                                                                         trading remained on the quiet Correa, Mrs. Lino Bettencourt, Tuesday at their first meet he has server! as a key man
                                                                                                                                                                         side.                                                            Mrs, Manuel Aguiar, Mrs, ing of the season u n d e r neu
 On TV Sunday                                                                                                                                                                 It was the thinness of the Maria Medeiros, Mr. Frank president, A r t h u r J. Kcenan.
                                                                                                                                                                                                                                                                                                                                                                         in the industrial division.
                                                                                                                                                                                                                                                                                                                                                                             He is a graduate of Lowell
                                                                                                                                                                         market rather than any par- Lawrence, Mrs. Rosa Fran-                                                                     The speaker, also a night in
                                                                                                                                                                         ticular news item that brought cisco, Joseph Soares, Mr. and structor                                                                              in "Transportation high school and Dartmouth

     Grey Nuns Celebrate Beatification                                                                                                                                   about the easiness. With only
                                                                                                                                                                         a small amount oJ sales being
                                                                                                                                                                                                                                           Mrs.
                                                                                                                                                                                                                                           Dastou,
                                                                                                                                                                         made it takes only a limited and Mrs. Anthony Perry, and gram chairman.
                                                                                                                                                                                                                                                      Manuel
                                                                                                                                                                                                                                                          Antonio
                                                                                                                                                                                                                                                                       Alves,
                                                                                                                                                                                                                                                                             Abreu,
                                                                                                                                                                                                                                                                                    George
                                                                                                                                                                                                                                                                                         Mr,
                                                                                                                                                                                                                                                                                              and           Traific"
                                                                                                                                                                                                                                                                                              college, was introduced b>
                                                                                                                                                                                                                                                                                                                                    at        St.       Anselm's
                                                                                                                                                                                                                                                                                              Harold E. Wright, Sr., pro- the Lowell Institution-for Sav-
                                                                                                                                                                                                                                                                                                                                                                         college.
                                                                                                                                                                                                                                                                                                                                                                             Reiliy is an incorporator of
                                                                                                                                                                                                                                                                                                                                                                         ings, director ol the Mass. So-
                                                                                                                                                                         amount of buying or selling others.                                                                                       Ostrowski said: "Transpor ciety for the Prevention of
     Of Mother d'Youville Founder
     LOWELL —Celebration of                    THESE ARE: The Grey Rev. Roger Lamoureux. OMI eon served by the Grey Nuns
                                                                                                                                                                         to bring about fairly wide
                                                                                                                                                                         price swings.
                                                                                                                                                                              Electronics                  issues
                                                                                                                                                                                                                                               AMERICAN LEGION—Na- tation ami t r a f f i c means a founders lor D'Youville Ma-
                                                                                                                                                                                                                                                                                              great deal to the nation. Every
                                                                                                                                                                                                                               again tional Executive Committee- one is so speed conscious nor, and a member of the Im-
                                                                                                                                                                                                                                                                                                                                                                         Cruelty to Animals, board oi


                                                                                                                                                                         were        the     heaviest            losers,       paced       man Gabriel Olga of the                                                                                                       maculate Conception H o l y
 the beatification of Mother Nuns of Charity of Montreal, and Rev. Richard Beauchesne,                                           of   Montreal.      Benediction     of                                                                    Massachusetts                     department,      everytime                        they            order            some     Name society and the. Knights
 d'Youville will continue Sun- the mother branch, whose pro-                      Delegated to represent the the - Blessed Sacrament was by a drop ol nearly 5 points American Legion, today an- t h i n g they want it 'yesterday. of Columbus.
                                                                                irother houses in Canada were offered hy Rt. Rev. George in general time. Litton dropped                                                                                                                      Gone are the days when then
 day, September 20, with two vincial house is in Lexington, Mother Berthe Dornjs, bursar- Casey, pastor of St. Bridget's 2 despite a stock split proposal, nounced the appointments of wanted it in two weeks, two                                                                                                                                                               T l f K C O M M O N W K A I/TH
                                            and who staff various hospi-                                                                                                                                                                   members          of       Lowell        post    to days. They want
                                                                                                                                                                                                                                                                                                                                                                                     OP M A S S A C H U S E T T S
                                                                                                                                                                                                                                                                                                                                                              things Slnnnl of (Junk I n c o r p o r a t i o n
 television programs scheduled. tals in New England; the Grey general of the Grey Nuns of parish, Lexington.                                                             and Zenith and IBM both lost
 A special mass will he tele- Nuns of the Cross of Ottawa, Montreal, Mother Marie-Ed-                                                                                    about 1.                                                          national committees. Those so quickly. It's one of the rca                                                                           f'lareiicR R a r n e a
                                                                                                                                                                                                                                                                                                                                                                                K   r r r t T. Cain
 vised at 9 a. m. over WNAC- who have a provincial house, a mond. secretary-general ol the Hiiiiiimmmiiiimmiiiiiiiimmiii                                                       Dupont lost 2 and Allied honored are, Frank J. Duggan, sons why the new profession                                                                                                                Philip Gardner
                                                                                                                                                                         Chemical a point in the chem- John Campbell and Oscar Ca- and I predict it will be pro                                                                                                                 D a v i d J. I d / m a n
 TV. At 10:30 a. m., over WBZ- hospital and five schools in Grey Nuns of Ottawa, and
 TV, beatification ceremonies Lowell and Haverhill, as well Mother Louis de Montfort,                                                                            No Jamming
                                                                                                                                                                         icals to help lower the indus- macho. Dugan also is a mem- fession within 10 years, is that
                                                                                                                                                                                                                                                                                                                                                                                P h i l i p f. Lcdur
                                                                                                                                                                                                                                                                                                                                                                                Mntrer T. M a y r l c n
 in Rome will be shown on as a novitiate In Framingharn; bursar-genera! of the Grey                                                                                      trial as'erage. Oils were mostly ber of the national executive of "A                                                          t r a f f i c of management."
                                                                                                                                                                                                                                                                                                                  t r a f f i c manager," said
                                                                                                                                                                                                                                                                                                                                                                                R o f j ^ r t J . Cain
                                                                                                                                                                                                                                                                                                                                                                                Thornaa C r o k ?
 film, followed by interviews the Grey Nuns of Charity of                       Nuns    of    Ottawa.         Also       present     WASHINGTON              (DPI)   —   lower          with         Richfield                  down       committee           of    the     federal     em                                                                                     ^S'i^ltar[l          A. Simmoni
                                                                                                                                  The      Voice of America     for (lie                                                                   ployees       veterans           association.       the speaker, "is one who ascer                                                   H a r o l d K. S m l l h
 with representatives of Ihc Quebec, who staff the Franco-                      were     Mother         Dorothy           Reece,                                         more          than      1.       Motors               moved                                                           tains rates, the best means ol                                                   H e r b e r t \\'. Pickering
                                                                                                                                  firsl    time  beiuncd   n  complete
 four branches of Grey Nuns American Orphange in this provincial of the American recording of President Kiscn fractionally lower. American                                                                                                                                                     the transportation for the                                                        J l e n r v I,. Foster
                                                                                                                                                                                                                                                                                                                                                                                Paul           M.    McCahp
 in the archdiocese, Mother city; and the Grey Nuns of province of the Grey N u n s of hower's news conference (o home products rose 3 in the                                                                                                  LOWELL                ROTARY—Hon.               product Involved; the tastes                                                     Of-orjjc W. S m i t h
 Berlhe Dorais, and Mother the Sacred Heart of Philadel- Montreal, and Mother St.-An- the Soviet Union yesterday. drugs, while Vick lost Hi.                                                                                               David Wililams, judge of the and safest modes of transit                                                                             K u f n - i E. Elevens, Jr.
                                                                                                                                                                                                                                                                                                                                                                                T.eroy K. T o o l e
 Dorothy Reece of the Grey phia, who teach in the Im- die-Coisini, provincial of the Officials snid It apparently                                                             Steels were mixed. Lukens municipal court in Haverhill, He knows all about costs and                                                                                                               H a r o l d W. Foley
Nuns of Montreal, Molher maculate Conception school American province ol the "tvent through clearly on added a point and Youngslown will be the speaker at next t a r i f f s , He knows how to trace                                                                                                                                                                           J o h n C. <:nri*o
                                                                                                                                                                                                                                                                                                                                                                                A J I i r k Epstr i n
Marie-Edmond and                  Mother here.                                  Grey Nuns of Ottawa.                                                                     a fraction, while U. S. Steel Tuesday noon's meeting ol shipments; how to file for                                                                                                                      PorihM L'. KUJrtcr
                                                                                  Immediately following the most frequencies."                                                                                                             Lowell "Rotary club. Judge                                                                                                            F r p r i 1>. Cain
Louis de M o n t f o r t , of the                                               religious ceremony at the Ca-                        The voice normally sends and Br-thlehem both were Williams has recently com claims                                                                        get          raw
                                                                                                                                                                                                                                                                                                                      on damages; how to
                                                                                                                                                                                                                                                                                                                             products                coming           in         \ V i I J i n n i I,. K i c h
Grey N u n s of Ottawa, Sister                HIS EMINENCE also ron- thedral, all Grey Nuns pro- only exrerpts of presidential                                           down         around        a    point,           and    U.  S.                                                                                                                                         H o d c r l r k W. iloag
Mary-Evelyn, of the Grey gratulatd t h e o t h e r t w o ceeded to Lexington, where neivH conferences to Kussia.                                                         Playing         Cards,           up        1'i.                    plctert    a  year      as    national      com-   and           finished                  products                 going            Jnhri J. C n l l i n *
                                                                                                                                                                                                                                                                                               out."                                                                       li a v i n e, associated I h c m f c-1 v * s
Nuns of Pliilartelphia, and branches of Ihe order, the the-v were guests at a lunch- iimimiiiiiiiiimiiiHiiiiiiiiiimiiiii                                                       Sales         (or      the             first      hour      mander        of   the     Disabled      Ameri                                                                                   1>V -in a « r ^ " M i t - n L in vrrtl I n g
                                                                                                                                                                         totaled 520,000 shares, against                                                                                                                                                                   f  o  r     t h e [• u r pn •• C, a n i l h a v i n g
Sister Mechtilde du Saint-Sac- Grey Nuns of Charity of St.                                                                                                                                                                                                                                                                                                                 a i v( : n ]iot ice to < lie Board • of
rement. of the Grey Nuns of Hyaclnthe, Quebec, and the                                                                                                                   •110,000 yesterday.                                                                                                                                                                                H a n k I ncoi'prM a t ion of I h ^ i r
Quebec.                                    Grey Nuns of the I m m a c u l a t e                                                                                            (From Droper, Start, Co.. 9 central St.)
                                                                                                                                                                                                                      open        Noen
                                                                                                                                                                                                                                                                                Gov. Furcolo Fails to                                                                      i n t ' - i i t i o n '»f ( o r m i r i K « cori'o-
                                                                                                                                                                                                                                                                                                                                                                           r^i ion accord i riR to t he pm-
                                                                                                                                                                                                                                                                                                                                                                            v1 > i o n 5 of <.J <• n e r R L La \VK ,
    These programs, as well as Concepution of Pembroke, On                                                                                                                                                                                                                                                                                                                 C h n p t f - r 172. .Sections 6 to 11,
n radio broadcasl over station tario.
WEEI last Sunday were ar-                     He made special mention of
                                                                                                                                                                         CnrYller
                                                                                                                                                                                             AUTOMOTIVE*

                                                                                                                                                                                                                        ^
                                                                                                                                                                                                                                                                                Name District Attorney                                                                     l i i d u M v«f. a n d n! L n e t s in
                                                                                                                                                                                                                                                                                                                                                                           amendment ihercnf and In ad-
                                                                                                                                                                                                                                                                                                                                                                           d i t i o n t h*re to, LO be k n o w n
ranged and produced hy Rev-                the   fact  that  the  Grey  Nuns                                                                                             Ford M                                         "'4                                                                                                                                                as t h f >
                                                                                                                                                                                                                                                 By Raymond P. Bates                          by Ihe present grand jury                                                               \VJIjMINflTON HANK
erend Walter L. Flaherty, of the Cross are extending                                                                                                                     Stud. Pack                                      13!i                                                                 A'mong them were 22 from the                                                         A N D TKL'ST COM P A N V
director of the Catholic Tele- t h e i r work In the archdiocese                                                                                                                        AIRLINES-AIRCRAFT                                      EAST CAMBRIDGE — Gov. Greater-Lowell area. All were and                                                                      of
                                                                                                                                                                                                                                                                                                                                                                                       to he local rjd In Ihc- T o w n
                                                                                                                                                                                                                                                                                                                                                                                         Wilmington,                   M a KA a c Ini -
vision Center in Boston.                   by building a new home for                                                                                                                                                                                                                         recalled for preliminary hear
                                           the aged, D'Youville Manor,                                                                                                                                                                     Furcolo's        f a i l u r e   to    name    his                                                                               .H"{ t,-. a p u b l i c >i pa r i n g will
                                                                                                                                                                         BMl<is"A'lr! '.','.'.'.'.'.'.'.'.'.'.'.'.'.'. 30-1                choice for I n t e r i m Middlesex ings as a precautionary meas                                                                  b»> R i v e n to a l l par! lea I n t e r -
                                           actually under construction on                                                                                                C u r f . VJf                                  30                                                                                                                                                  ^M*'! el Room 207, S t a i e
    AT A mufrnlflcent ceremony outer Varnum avenue, this                                                                                                                 G. D^nom                                       '6 1                county        district
                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                           attorney,       to ure         to        avoid          any         legal         hassels        j f o u t p . HoMon. on Wednes-
                                                                                                                                                                         Lockn                                          JS'i               succeed James L. O'Dea. Jr. oJ                           Others                    mentioned                      ;n     the     d  a  v        September              23.     1953, fll
In Holy Cross Cathedral in city.                                                                                                                                         HAmAIr                                         34Vj                                                                                                                                                 10 A M-
Boston last Sunday, His Emi-                                                                                                                                             PonAAir                                        1K<                Lowell, likely means t h a t no race for the DA's job are for                                                                    K D U ' A I I D A. C O L ' N J H A N , JJI,
                                              An assistance of 3000. In-                                                                                                                       BUILDING                                    selection will be made u n t i l the mcr Governor's Councilor En                                                                Commissioner of B a n k s
nence Richard Cardinal Ciish- cluding hundreds of Grey                                                                                                                                                                                                                                                                                                                     .IOH.V K. K E N N E D Y .
ing presided at a Pontifical Nuns, religous from other                                                                                                                   Crane Co                                       W'4                executive council meets again dicoll I Chub) Peabody, oJ                                                                        ITr-a surt-r and lleccl ver-
                                                                                                                                                                                                                                           next Thursday.                                      Cambridge; former Rep. John                                                       Oeneral
high mass in honor of Blessed congregations,                    nurses,   stu-                                                                                           Johni Man                                      M']                                                                                                                                                 noHKKT T. CAPKI..KS?.
Marguerite ri'Youville, found, dents, relatives and friends                                                                                                              Nat, Oypi                                      ^5                     Informed sources are of the Zamperelli, of Medford. am: C o m m i s s i o n e r of C o r p o r a t i o n s
                                                                                                                                                                                               CHEMICAL                                    opinion       that      the    district     attor-  former assistant A t t y Gen                                                      and; T a x a t i o n .
ress of the Sislers of Charity, filled the Boston Cathedral as                                                                                                                                                                                                                                 Andrew T. Trodden, of Cam                                                                    B o a r d of R a n k
known as Grey Nuns. In his the Cardinal, preceded by                                                                                                                     AIIKO Ch                                      10*"'               ney      hopefuls        have      been   apply-                                                                                                 Incorporation.

sermon based on the life of more than 20 monsignori and                                                                                                                  Am'. Cyon                                      "'«                ing exceedingly heavy pressure bridge. Zamperelli and Trod                                                                       Bl.ll.lS
                                                                                                                                                                         D U ponl
                                                                                                                                                                         Food /Accft
                                                                                                                                                                                                                       J'»
                                                                                                                                                                                                                        W*                 on     Furcolo,       and      t h a t  Ihc  gov-   den          were               candidates                   for     the                     C o n i m u n i T C f l l O i o(
the Canadian-born nun re- an even greater number of                                                                                                                      Un. Carbide                                   l^ *                ernor apparently had not berth in 195B primary.
                                                                                                                                                                                                                                                            1                                                                                                                                   MnimnchiiflcUi
cently elevated to the altars priests, and accompanied by                                                                                                                                                                                                                                                                                                                   Middle.°p,v, s s , Prob.ile C o u r t
                                                                                                                                                                                                 DRUGS                                     reached a decision, before yes-                                           C"li]innntil-fl!l h of                                      To a l l persons interested in
by Pope John XXIII, his His Excellency Joim Wade,                                                                                                                                                                                          terday's meeting of the coun-                                                M     n**ni-hu»rl            t*                     t h  e       e  s t a t e of         Mnrpnret            T.
Eminence elaborated on the missionary bishop in the Solo-                                                                                                                                                                                  cil.
                                                                                                                                                                                                                                                                                                  M i d d l e s e x , ss. I'rcb.iif C.,uM                                   II n rnn 1 H t *• of I.o w e 11 i n said
                                                                                                                                                                                                                                                                                                        To all [if:!-.sriiis i m e r ^ M ' M l In                           Coun ty. deceased.
courage and virtue displayed mon Islands, entered in sol-                                                                                                                           ELECTRICAL-ELECTRONIC                                     These same sources also Ihr f-.taU' r,( (Jlnrn I. IIInl.ilrll                                                                      A p e t i t i o n Jin.s L e p n p re-
by this woman, whom the                    emn    procession   and  proceeded                                                                                            A v t o Corp                                   I? *               have it, t h a t Acting District rter',-ispft.
                                                                                                                                                                                                                                                            1                                     l i l t "   f l l   I . I J W P  U ,   il\    S.TUl     L'tHJTll!',       p  e n  t  I'd     t o  paid      Coun,        p r a y i n g
                                                                                                                                                                                                                                                                                                                                                                             that             Mnry           K. l l i t r n B of
pope has named "Mother of to the altar where, by special                                                                                                                 Gen. Efec
                                                                                                                                                                         In1. T«l, A Tel
                                                                                                                                                                                                                        '^i
                                                                                                                                                                                                                        32                 Atlorney William H. Sullivan,                                The r x e n u t o r or ttir- ^ - U1 ol                              C h f t in ? f o r d in [ l i e C o u n t y o f
Universal Charily." in over- indult from the Holy See, the                                                                                                               RCA                                            S' ;,              of Lowell and John J. Droney, Dre^'Mi
                                                                                                                                                                                                                                                            1                                     fniil ( l.irn I. l]l,,l-,lell lias
                                                                                                                                                                                                                                                                                                                    I'-il      tf>     f-;*ifl      i.'miri       f o r
                                                                                                                                                                                                                                                                                                                                                                            M i f l d l e ? f x , o r some o t h e r E U J t -
                                                                                                                                                                                                                                                                                                                                                                            aliii*       [HT.«OII,       tie   appoiiiled          ad-
coming obstacles and opposi- Mass "Cognovi" was celebrated                                                                                                               V/eit El                                       «* •               of Cambridge, present first ; ;• allou-.inrc h i s fir.n acc-onm.                                                                n i i n i s t r a t r i x of s a i d e s t a t e .
tion to her work for children, by Right Rev. Thomas Riley,                                                                                                                                METALS MINING                                    sistant district attorney, are t h 'K- r e l oyouymi d or                               c M r e It, o b j e c t
                                                                                                                                                                                                                                                                                                                                           your iitlorm-y
                                                                                                                                                                                                                                                                                                                                                                                  If you d e s t r e 10 < Liject
                                                                                                                                                                                                                                                                                                                                                                            ( h r - r d o you or y o u r a t t o r n e y
lor the poor, the sick, the aged, spiritual director for all re-                                                                                                                                                                           the two top contenders for .•Oiould ril'- a w r i t t e n a p ] i c a r -                                                        5li on Id f i l e a i v r i i t p r i s p p e a r -
the handicapped                 and the ligious of the archdiocese.                                                                                                      AmSnieU                                        <!*»               the prized position,                                  an,-e in sai'l Court ftt i.owcll
                                                                                                                                                                                                                                                                                                  b r f u r e t e n o'clock in lii* f o r e -
                                                                                                                                                                                                                                                                                                                                                                            a n c c In said C o u r t a t LoivplJ
                                                                                                                                                                                                                                                                                                                                                                            be-fore t e n o'clock in t h r (ore-
homeless.                                  Singing for the entire cere-                                                                                                  Kennecot!                                      «','<                  Droney       served          under     O'Dea       nonn ot) tin- £ i x t ' ' t - i i t h fl;iy of                            n  o  o  n on thrt n v e n t y - f i / i h day
                                                                                                                                                                         N Lead                                        U7
                                           mony was provided hy the all-                                                                                                 Pnelps D                                       30^                since Dec. 10, 1956. He is said October, l y o ^ . t h e r e t u r n d a y                                                       of P f- p: c m 11 e r ' 3 5f. 1 h u r e t u r n
                                                                                                                                                                                                                                                                                                                                                                            day of this citation.
    The Cardinal also praised male                  choir of St. Mary's                                                                                                                             OIL                                    to have the staunch support of Winir-fcs.                       I hi.s ( i l a t i o r i ,
                                                                                                                                                                                                                                                                                                                                  J o h n C. Ix-ggiU,                             W-fne-55. J o h n C. Leg era i.
the followers of Blessed Mar-              church     in   Cambridge.                                                                                                    Atl. Redn.                                     Wl         39'1 of U. S. Senator John F. Ken-                            K A r j u h e , fr'ii'st ,lu<ige of said                                   Earjii       irr-. FirM .Iur1g« of said
                                               AMONG THE clergy who                                                                                                      51. Oil n.J                                     ?<»       49 '• nedy, for whom Droney man-
                                                                                                                                                                                                                                                        4                                        Coun, t h i s s i x t e e n t h day of                                     Court, t h i s t u - ^ n t y - e i f f h i h d a y
Ruerile d'Youville, the various                                                                                                                                          Socort/                                        *P*        4in                                                           September, K<5f.                                                           of A U S U « T IPS?.
branches of Grey Nuns, pnr- attended                    the ceremony were
                                           Rt. Rev. Timothy O'Loary,
                                                                                                                                                                         Skell/
                                                                                                                                                                         Texaco
                                                                                                                                                                                                                        *"
                                                                                                                                                                                                                         n't
                                                                                                                                                                                                                                           aged campaigns in 1948, 1952
                                                                                                                                                                                                                                   7?'!'< and again in 1958.                                     1      IS.       2a
                                                                                                                                                                                                                                                                                                                        J O H N V. H A R V E Y ,
                                                                                                                                                                                                                                                                                                                           o   -
                                                                                                                                                                                                                                                                                                                                                                                                 JOHN* V- H A R V E Y .
                                                                                                                                                                                                                                                                                                                                                                                                                         Register.
ticulary those working in the archdiocesan                  superintendent
                                                                                                                                                                                                                                                                                                                                                                            • 4, n. is.
archdiocese of Boston.                                                                                                                                                                        RAILROADS                                        It is also reported t h a t                                                      mor           e H l l h of
                                           or schools,Rt. Rev. William                    i              •* , <i>v,?>                                                    Ball. X Oh                                     U          *>* Droney has the support of                                                                                                                            Cnmmonvre n l f h at
                                           Drapeau, Rev. RonaH Haff-                    J-                   S   - v   ; *   ,                                           OlMSPP
                                                                                                                                                                         NY Cent
                                                                                                                                                                                                                        «'i
                                                                                                                                                                                                                        38'i
                                                                                                                                                                                                                                   "
                                                                                                                                                                                                                                   J«      several top men in Governor
                                                                                                                                                                                                                                                                                                 M i d d l e s e x , ss. Proba IB Court
                                                                                                                                                                                                                                                                                                       To A!! persons i n t e r e s t e d in
                                                                                                                                                                                                                                                                                                                                                                                                 MananchufteltJi
                                                                                                                                                                                                                                                                                                                                                                            M i d d l e s e x , f i i . P r o b a t e Court
 DO FALSE TEETH
                                           ner, SM, Rev. Augustine De-
                                           pa tie, SM, Rev. N'ormand Mar-                                                          To Appear Here                        E r i e RR
                                                                                                                                                                         NorPoc
                                                                                                                                                                         SouPac                                -... &i^
                                                                                                                                                                                                                        »<1
                                                                                                                                                                                                                        "'i
                                                                                                                                                                                                                                   '3 = Furcolo's administration. Sul-
                                                                                                                                                                                                                                   "'
                                                                                                                                                                                                                                   Ml      livan the 31-year-old Lowell A
                                                                                                                                                                                                                                                                                                 t h o e ^ t a t o of A 1 f re il A . Te r-
                                                                                                                                                                                                                                                                                                 r e n t i l i a l s o k n o w n a? A l f r f r t r e
                                                                                                                                                                                                                                                                                                      . ' P e r r t r r r n u l i L a t e of Dracut
                                                                                                                                                                                                                                                                                                                                                                                 To all person* Interested in
                                                                                                                                                                                                                                                                                                                                                                            the estate of A n n on W. Stone
                                                                                                                                                                                                                                                                                                                                                                            Idle of B i H e r k a in said Coun-
                                           cctte, SM, Rev. Leo Staves,                                                                                                                           STEELS                                    aspirant made his political in e a i d Cpunxy. decea sed.                                                                        ty,       deceased.
         Rock, Slide or Slip? OMI, Rev. Louis Bachand,                             Lowell-born Befte Davis and her husband, Gary Mer-                                                                                                     debut d u r i n g the last election, .senietl                 A p e t i t i o n n « x Lttc-n pre-
                                                                                                                                                                                                                                                                                                                                                                                 A p e t i t i o n huia bten pre-
                                                                                                                                                                         Btlh. Steel                                    Si'i       55'.                                                                               to said C o u r t for pro-                            j p n t e r t to *aid: Court for pro-
    FASTEETH, an Improved powder OMI, Rev. Anatole Lcssard,                        rill, will present readings from "The World of Carl                                   Jonei t L                                      7l!i      7!       when he unsuccessfully ran h a i e of a c e r t a i n i n s t r u m e n t .                                                      b a t e of A c e r t a i n i n s t r u m e n t
 to be sprinkled on upper or lower                                                                                                                                       Repub. 1 Sll                                   M',i       "                                                             p u r p o r t i n g to 1*6 int. las; \ i i l l
 plates, holds fatse teeth more ftrmly OMI, Rev. Donat Monissette,                 Sandburg" af the Memorial Auditorium, Oct. 14, at                                     US Stee!                                      IOW        100*     for U. S. representative in the of                               sfiid deceased hy lie n rite                                     p u r p o r t - i r R to be the l a s t w i l l
 in place. Do not elide, slip or rock. OMI, Rev. Henri Bolduc, OMI,                                                                                                      v;tieel. it                                    60         M      5th       district.       However,         in   de-    P    e  r r e  n   u l  t     of       I ' r a  c u t      in   i h e      of said deceased by I. til A S.
No gummy, gooey. pMty taste or                                                     8:30 p. m. The appearance is sponsored by B'nai                                       YngS 1 W                                      UJ'/<      13'                                                                                                                                       Sinn* nf Ilillericn in Ihe Coun-
 iccilng. FASTEETH IsalkflllniMnou-        Rev. Eugene Noury, OMI,                                                                                                                                                                         feat he compiled a sizable vote Ct hoauin he                         t y of M i d d l e s ex g r a y i n g
                                                                                                                                                                                                                                                                                                                        be appnintr-ri e x e c u t o r                      ty of M i d d l e s e x p r a y i n g t h a t
 B c l d ) . Docs not fiour. Checks "plate Rev. Paul Mayranrl, OMI, Rev.           B'rith and all proceeds will go to the organization's                                                       UTILITIES
                                                                                                                                                                                                                                           and later was named an as- thereof u- till out g i v i n g a                                                                      shft h* a p p o i n t e d e x e c u t r i x :
 odor breath". Get FASTEETH it                                                                                                                                           Am. Tel. Tel                                   74't       7«'*                                                                                                                                     t h e r e o f w i t ho J t g i v i n g a
drug counters everywhere.                  Normand Beauchcsne, OMI.                charities.                                                                            Con. Edil                                      W'l        «OH sistant           to Attorney General s u rIte t y you                         on his bond.
                                                                                                                                                                                                                                                                                                                                 fli-flirc to ohjec I                       iurriy on n r r bond.
                                                                                                                                                                         Nt« Eno El                                     2                 Edward J. McCormack Jr.                                thereto you or your attorney                                                     I f you desire io object
                      Advprll«fment             Pntltlc-nl Advertisement                                                                                                                                                                                                                                                                                                    t h e r e t o you or your a t t o r n e y
                                                                                                                                                                                                                                               Last P'rirtay, Sullivan, ac- s h o u l d f i l e a w r i t t e n a p p e a r -                                               should file R w r i t t e n appear-
                                                                                                                                                                                       FREE MUFFLER                                       companied by Atty. Gen. Me- ance                                        In P a j <1 ' C o 1 1 r t «u i *o u e 1 1
                                                                                                                                                                                                                                                                                                 before ten o'clock In t h e fore-                                          air-e in faftf C o u r t at Lou-ell
                                                                                                                                                                                                                                          Cormack and Asst. Atty. Gen, noon on the s i x t e e n t h day of                                                                 b e f o r e t e n o'clock in the fore-
                                                                                                                                                                                       INSTALLATION
              FOR COUNCILOR                                                                                                                                                                                                               Joseph Duggan, from New 0                                   c t o n (- ; 1 ? 5 !t , 1 1; e r e t u r n d, a y                     noon           on the t w e n t y - f i f t h day


   VOTEFO
                                                                                                                                                                                                                                                                                                 of tliis cilatioji.                                                        of September 15S3. the r e t u r n
                                                                                                                       Supervisory                                                                                                        Bedford, took over O'Dea's of-                                W i t n e s s . John C. I^E^at.                                     day of t h i s citation.
                                                                                                                                                                                                                                                                                                                                                                                 Wit n e a p , J o h n C, Leg-gat.




                                            " Robert
                                                                                                                                                                                                                                          fice, when McCormack named Court,                      E s r i u i r e , K l r s i J u d g e of aaitl                             K   p   i m   r  e , First J n d ^ e of said
                                                                                                                                                                                                                                                                                                                     ihi.i f o u rleen th day of                            C o u r t , thi." t h i r t y - f i r s t day of
                                                                                                                       Electronics                                                                                                        Sullivan to serve as acling DA S e p t e m b e r 135?.
                                                                                                                                                                                                                                          until Gov. Furcolo names an                                                   JOHN V. H A R V E Y .                               A u g u s t 1^59.
                                                                                                                                                                                                                                                                                                                                                                                                 JOHN* V. H A R V E Y .
                                                                                                                                       EDWAKI) J. SUDO                        You save money at MIDAS                                                                                                                                                 Register.                                                           Register.
                                                                                                                                                                                                                                          interim Incumbent.                                     1 1S. 25. o 2.                                   ____                 ^
                                                                                                                       Opportunities      108 Aberdeen SI,                    because you pay no installa-
                                                                                                                                                                             tion charge on muffle, s. The
                                                                                                                                                                                                                                                                                                                   Common nen I Ih of
                                                                                                                                                                                                                                                                                                                                                                            f <. 1!, IS.
                                                                                                                                                                                                                                                                                                                                                                                               Commonwealth
                                                                                                                                                                                                                                                   SINCE THEN Sullivan M i d d l e s e x , ^-s. Prolntic Court         .^InnnachuAel                ;»                                      of .MnnmirhunellN
                                                                                                                                   Now, A New Twist . . .                     labor is free.                                              has been busily engaged in                                                                                                       Middlesex,                .•=?.    Probate          Court




                                              Murphy
                                                                                                                                                                                                                                                                                                       To H o b r r l P. SnvArri of                                              To all persons interested In
                                                                                     Accelerating space-age pro*                                                              You save money, too. be-                                    stabilizing the district attor- IxiivetE in t h e C o u n t y of Mid-                                                             t h e estate of SInrr HIIKP late
                                                                                     grams a L Boeing are creating                 S-lftA.OO plus $1C.M                       cause you get a better muf-                                 ney's office. His first move J'nrl                     dlesex. now eo mm or a n I of                                             of Lowell Iti said County, de-
                                                                                                                                     IUU                 '•'PER DAY                               fler.          And         there                                                                              Ihracruica, in t h o S l a t e of                          ceased.
                                                                                     high • l e v e l s u p e r v i s o r y                                                                                                               last Friday was to halt su- A r i z o n a , in, t h e C o u n t y of                                                                   A p e t i t i o n has been pre-
                                                                                     o p e n i n g s for E t E C T R i C A L                                                                      is nothing added                        perior criminal court trials. Cochlfe.                                                                                           sented to said Court for p-ro-
                                                                                                                                   With the. opening of our                                       on to the very                                                                                       A J i h e ] ha.n Leon p r e s e n t e d                             hatft of a certain I n s t r u m e n t
                                                                                     and E L E C T R O N I C E N G I -             new plant —our Big Jack-                                                                               Last Monday all assistant dis- to snM C o u r t by your w i f e .
                                                                                                                                                                                          (.      low price you                                                                                  H I (i n rti r J. S M * n r il g r a y i n g                              p u r p o r t i n g !o be Ihe last w i l l
                                                                                     N E E R S . Tor i n f o r m a t i o n                                                                ['      pay        lor      the     muf-        trict      attorneys         were       sworn   in                                                                               pf flBid deconscd by H e n r y A'X'.
                                                                                                                                   pot wll! grow $15.00 per                                                                                                                                      lhat           a    divorce             f  r o m     t l i n  honil       C l n n l l r r n n d ICnllicrtne MIcov
                                              • A man with 37 years of               patch for advertisements in                                                                                                    fler itself.          as special assislant attorneys nt m a t- r i m o n y h e t w c o n her-snlf                                                      of Lowell hi the C o u n t y of
                                                practical experience in              Sunday paper, or arrange                                                                                                                             general, after which court ses- mill                                 > oii ht* decrcp'l for t h e
                                                                                                                                                                                                                                                                                                0.11 iff! of cruel and A b u s i v e                                       Middlesex prnyln>f that they
                                                                                     for a confidential interview                                                                                                                         sions were resumed. Sullivan IT c.i t m r n l .                                                                                  hft a p p o i n t e d exirutorfl t h e r e -
                                                                                                                                  A Junior JcKkpot wrlntr 61 tM.OO                                                                                                                                                                                                         of w i t h o u t g i v i n g tv s u r e t y on
                                                private      a n d public            hy phoning Mr. George                        men welk from tfwl WMk'i rlj.il-                                                                        also halted arraignment of ( h eIfr e t oyou                                          desire, to ohjoet                          th-»ir bond.
                                                                                                                                                                                                                                                                                                                    , you or your attorney                                      Jf you d f f i l r e io object
                                                worki.                               Davidson, beginning Sun-                     trorttl.                                                                                                some 130 defendants indicled should f l l * a w r i t t e n nppeftr-                                                             I h r r e i o > - ou or .four a t t o r n p y
                                                                                     day. CA 7-8620, Boston.                                                                                                                                                                                    a n r f r In ».i hi C o u r t at Cam-                                      5hould f i l e a w r i t t e n a p p p a r -
                                             • A vots for Robert Mur-                                                                   Details nl Any riant                                                                                                                                    liriflKf                    wil hln              lu-cnl y-on«              nnrt In s a i d Court at I,owell
                                                                                                                                                                                                                              TODAY                                                             < 1 .1 y H f r o m ( h e n t n ( h d a y r> (                              b e f o r e t e n t/Hock In I h o f o r e -
                                                phy i» a vote for hon-                                                                                                                                                                                                                           \nvemlier \ '*'-•'', ihe r e t u r n                                      noon o n t h « t w e n t y - f i f t h d a y
                                                                                                                                                                           655 GORHAM STREET                                                                                                    day fit t h i s Mm l i o n .                                               of Septf mKcr 1 rCi!». i he r e t u r n
                                                est service.
                                                       • Please consider me for                                   CApito! 7-8620                                                                                               N e a r (1sll«oh«r Squirt
                                                                                                                                                                                                                                    GL 4-18G8
                                                                                                                                                                                                                                                                                                       WHiTM*. . I oh 11 i". I . e f f g n l ,
                                                                                                                                                                                                                                                                                                                                  K.'niiire, Fi r.« t . I n r l K P of w a l d
                                                                                                                                                                                                                                                                                                                                  ('ourt, t h i s e l e v e n t h clay of
                                                                                                                                                                                                                                                                                                                                  S e p t e m b r r 1 ^.i?.
                                                                                                                                                                                                                                                                                                                                                                                       d.i y of I h H r i t f l ! Ion.
                                                                                                                                                                                                                                                                                                                                                                                           W i t n e s s , .John i'. L'gKit,
                                                                                                                                                                                                                                                                                                                                                                                       Ksrjn I re. F l r ^ t Jnd KO of ca Id
                                                         one of your nine votes.                                                                                                                                            OPCW DAILY 1:00—S:M                                                                                                                                        Court, \Y\\* tirxi day of Sep-
                                                                                                                                                                                                                              SATURDAY «:0»—11»                                                                                                JOHN V. H A R V R Y ,                   t e m b e r i?;o.
                                                                Slsntd:      ROBERT       MUBPHY
                                                                                                                                                                                                                            MON. 1 THUHR «:00—S:M                                                                                                                  Register              JDiiN V. H A R V E Y , Register.
                                                                                                                                                                                                                            Unconditionally Ouaronlied
                                                                             S0< Prmwlen B l v d .




                                                                                                                                                                        Lowell Sun, September 18, 1959,Pg. 27, Lowell, Massachusetts, US
       Case 1:23-cv-05294-RPK-LB                                                                                                    Document 1-4                                Filed 07/11/23                                  Page 2 of 7 PageID #: 54
The        Lowell         Sun       Thursday            May         27       1948                                                                                                                                                                                                                             27
Franco-American Orphanage RADIO PROGRAMS                                                                                                                                                        IDDLESEX SUPPLY CO
40th Anniversary Monday


                                                                                                                                                                                                EVERYTHING
        .Former Pupils, Benefactors, Other Interested




                                                                                                                                               WE
         Persons Invited to Open House                                                      3:00 WLAW—l.ndles, Be Vested.
    LOWELL—The Franco-Amer- Oblate order, from
ican orphanage, located on Paw- .  parish.
                                      .. .
                                                                   Joseph's |
                                                 Thousands . . Franco- 3:15 WBZ—MB
tucket street, at School, observes Americans passed in review.
                                                                                       WBZ—Lire dm Be Beautiful.
                                                                                       W N A C — M a r t i n Block Shmv.
                                                                                       W E E I —Double or >'othlne.
                                                                                                         J'rrldr.s,' sketL-li.
                                                                              3:30 WLAW—!'. Whlieman Kiu-o.-il Club.
                                                                                                                                                                            HAVE
the 40th anniversary of its At nl . ht on the                                          WBZ—Pepper Youns's Family.
founding next Monday and oni                  * -              orphanage               WNAC—The Hli|)py Can£.
                                                                                       W E E I — O n e World.
that day will hold open house | grounds, was 'held the procession 3:45 WBZ—Itlclit to Happiness.
                                                                                       W E E I — I r v i n e T. McDonald.
*t which former pupils are ex- with candles for illumination, a 4:00 WBZ—Bucki-t.iee                              Wilt, sketch.
pected to renew acquaintances most impressive sight. Since then,
and benefactors are expected to the grotto has been the scene of 4:15 W
view the many improvements m a n y pilgrimages. Seats are 4:25 W
                                                                                       W N A C — J a c k Smith.
                                                                                         E E I — H i n t Hunt.
                                                                                       WBZ—Stella Dallas, drama.
                                                                                       W N A C — G u y Lombard!!.
                                                                                                                                                   FOR YOUR SUMMER HOME—CAMP OR COTTAGE NEEDS
                                                                                         E E I — H i d e o u t Weather.
made possible by their generos-
ity.                                maintained there and the grotto
                                    is capped by a hugh crucifix
                                                                              4:30 WLAW—Hit Tunes.
                                                                                       WBZ—Lorenzo Jones, sketch.
                                                                                       WNAC—Xavler Ctieat.
                                                                                                                                                                                         AND EVERYTHING AT SAVINGS!
    Mass will be celebrated in the                                                     WEE!—House Pnr.j-.
beautiful chapel at the orphan- which
                                    occasions.
                                              is illuminated on special 4:45 WBZ—Yoiinc- \Vkkler Brown.
                                                                                       W N A C — I J n the Ludder.
age at 8.30 o'clock Monday morn- The Bread Fund                               4:55 WEEI—This Women's World.
                                                                               J:00 WLAW—Ulck Tracy, Mitten.
ing. The traditional luncheon In D e c e m b e r of 1911, was                           WBZ—When » Clrl Marries.
will follow. The Grey Nuns of founded the Bread Fund of the                             W N A C — A d v e n t u r e Parade.
                                                                                        W E E I — L l M c n , Limits.
 Charity of Montreal, who have Franco-American orphanages, an 5:15 WLAW—Terry nr.d t!ir Pirates.
                                                                                        WBZ— Pnrllii faces Life.
 so ably directed the destinies of organization which has provided                      WNAC—Superman, ^cu-h.
 this worthy institution lor the much support to the institution. 5:30 WLAW—Sky King, sketch.
                                                                                        WBZ—Just Plain Bill.
past 40 years extend an invita- Devout persons promise the sum                          WNAG—C;lp:aln .Midnight,
 tion to all interested persons to of 10 ce.nts per week, to be col- 5:40 WEEI—Sports Revieiv.
 visit the orphanage next Mon- lected by team captains, This 5:45 WBZ—>'rout            WNAC—Tom Mil. sketch.
                                                                                                             Pate Varrell.                                                                                                                     LAWN CHAIR
 day.        ..                     money is in turn given to the 6:00 WEEI—LII.II                          V Abner.
                                                                                                                                                                                                 Camp Cook STOVE                                                                     PORCH SHADE
 1'ounded In 1908                   orphanage and utilized to pur-
                                                                                        WLAW, WBZ. WNAC—News.
                                                                                        W E E I — Krli: Scvarnid. news.                                                                                                                               4.95
                                                                               6:05 WBZ—Geoffrey Harwood, news.
    It was on June 24, 190S, dur- chase bread, a large item of ex- 6:15 WLAW-Son^.
 ing an entertainment at St. Jos- pense in such places. Each month,                     W B Z — B u m p H.idle.v. sporl*.
                                                                                                                                                                                                           9.?5                                   SOc Down,                              6.50
                                                                                        WNAC—Let's Co to the Gmi-.es.                                                                            Handy lor summer outdoor                  All metal—Bright w*ath*i-                    1.00 Down
 eph's boys school on Merrimack in the orphanage chapel, a special                      WEEI—C. T. S.-anhm. neivs.
                                                                                                                                                                                                 living.
 street, that Rev. Joseph Cam- mass is celebrated for the inten- 6:25 WNAC-r-.loe                           McCarthy sneaks.                                                                                                                     proof iiniih.                   4 It. widt by 7 it. long.
                                    tions    of members    of the fund  and             W E E I — N a m e s In the Nona,             •>
 peau, OMI, pastor of St. Joseph's                                             6:30     WLAW—.Music.
.parish, announced the purchase other benefactors.                                      WBZ— Rohert Rissllng- Slnss.
                                                                                        WNAC—The Answer Mm.
 of the Ayer property at Paw-          Much      more    could  be  written             WEEI—Sweet Musk-.
                                    about      the   Franco-American
tucket and School streets' for the phanage but a volume would be         or-   6:45 WBZ—Three Star Kxlra.
                                                                                                                                                                 NO.
purpose of founding an orphan- required to properly due justice
age. Since then, May 30, has to its contribution to the welfare 6:50 WNAC—WiLshinnton
                                                                                        W N A C — A n l m n l World Court.
                                                                                        WEEI—Lowell Thomas, news.
                                                                                        WLAW—Pianist,
                                                                                                                       Snapshots.
                                                                                                                                               REGAL             1107
always been a day of remem- of the city. Suffice to say that 6:55 WLAW—Edwin            WBZ—Supper Ciub.
                                                                                                                 C. H I M , , r.ews.
                                                                                                                                               • BUILT-IN LOOP
 brance at the institution in view it-continues serving, under the                      WNAC— Fulton Lewis. Jr.
of its proximity to the first of- | direction of the good Grey Nuns 7:15 WEEI—The                           Bculah Show.                       • SLIDE RULE VISIBLE
                                                                                        WBZ—News or the World.
                                                                                        WNAC—Tcllo Test.                                         DIAL                                  $1.00
chase of the property which was for  of Charity of Montreal, as it has                  WEEI—Jack Smith Show.                                                                         DOWN
actually consummated about May Next        the past 40 years.                  7:30 WLAW—Henry .Morgan Show.                                   • AUTOMATIC VOLUME                                                               MINUTE MOP
                                                                                        WBZ—Thursday at 7.30.
30, 1908, and that day is always Day" atMonday           is "Remembrance
                                                  the orphanage, and the
                                                                                        WNAC—News. Cedrlc .Foster.
                                                                                        W E E I — C l u b 15,
                                                                                                                                                 CONTROL
                                                                                                                                                                                       $1.00         RENUZIT                                                   Garbage Can
 considered the anniversary date.' good nuns          expect to see their 7:45 WNAC—Inside
    Since Its founding, the Franco- former charges there, with re! 8:00 WLAW—Radio
 American orphanage has been atives and friends, to gladen the
                                                                                        WEEI—Edward Murrow.
                                                                                                                 of Sports.'
                                                                                                               Telephone Came.
                                                                                        WBZ—The Aldrirh Family. •
                                                                                                                                               • FULL SIZE BAKELITE
                                                                                                                                                 CABINET
                                                                                                                                                                                     WEEKLY      2 GAL. 1.55                            1.95                   4 GAL
  the home of thousands of chil- hearts of their former teachers                        WNAC—Boston Queen for Day,                                                                               Q u i c k economical          Clean up your camp              Wheeling heavy gal-
                                                                                        WEEI—Fill In Peace and War.                                                                              cleaning of your sum-
 dren.                                                                                                                                                                                                                         floors with a mini-             vanized, waterproof,    Banish soil with Soil-
                                     and serve as ideals to the young- 8:30 WBZ—Geortte WLAW—Kilcry Queen, sketch.
                                                                                                               Burns. Grnrie Allen.                                                              mer play togs.                mum of hard work.
    A complete grammar school sters now filling the places left                         WNAC—Great Talent Hunt.
                                                                                                                                                                                                                                                               non-rusting,            ax. Quickly, easily.
 course of eight grades is located vacant by those who preceded                         W E E I — M r . Keen, sketch.
                                                                                «:55 WNAC—Billy Rose.
 in its spacious buildings. The them and who, today, can be                             W E E I — B i l l Henry, r.ews.
 original Ayer home has been ex- listed among this city's most sub 9:00 W L A W — W i l l i e Piper, comedy.
                                                                                        WBZ—Musical H a l l . Al Jolson.
 panded -with substantial con- stantial citizens.                                       WNAC— Gabriel Heatlcr, news.
  structed buildings of brick con-                                                      WEEI—Dli-k Ilajnies Show.
                                                                                9:15 WNAC—.Mutual .Vewsreel.
  taining dormitories, play rooms,
  auditorium, a beautiful chapel.
 Spacious Grounds                             Shoots Foot                       9;30 WLAW—Guy l.omhardo's Orchestra.
                                                                                        WBZ—Jack Carson Vllhce Store.
                                                                                        W N A C — A l l St.tr Itevue.
                                                                                        W E E I — C r i m e Pliososraphfr.
    The spacious grounds of the
 Franco-American orphanage have               For Prowler
 for years been the Mecca of de- SYCAMORE, 111. (AP)—George
                                                                                9:45 WNAC— Background for Stardom.
                                                                              I O : O D WUAW—Candid Microphone.
                                                                                        WBZ—Boh Hawk Quiz.
                                                                                        WNAC—The Family Theatre.
                                                                                                                                                                                                                                                                   PRESTO
                                                                                                                                                                                                                                                                   COOKER
 vout who have visited its Way White, Sycamore trucker, had a 10:30 W                     E E I — T h e Radio Dlcest.
                                                                                        WBZ—Eddie Cantor Show.
                                                                                                                                                                                                                                 PICNIC JUG
                                                                                                                                                                                                                                                                      4 Qts.
 of the Cross which leads to the lightmare and visioned a stranger                      WNAC—n r . Davlll Cornn..
                                                                                                                                                                                                 Ice Cube Tray                                                                             Household
 huge grotto in the rear.            standing at the foot of his bed.
    It was in June, 1910, that the White
 idea cf constructing a-memorial
                                                                                        WEEI—First NlBhtcr, sketch.
                                                                              10:45 WLAW—Guest Star.
                                                                                        WNAC—Ray Anthony 1 *- Orchestra.
                                              pulled his gun from under 11:00 WLAW, WBZ, WNAC, WEEI—News.
                                                                                                                                                                                                                                        $3.29                       12.95                   SCALE
 city, took form and a year later foot was there, he told attendants
                                                                              11:10 WNAC—Sports final.
 to Our Lady of Lourdes, in this his pillow and fired. Only George's 11:15 WEEI—RldeotltWLAW—Music.
                                                                                                                 Weather.
                                                                                                                                                                                                             Meltl
                                                                                                                                                                                                 Welcome Ice cubes             Insulated jugs to
                                                                                                                                                                                                                               keep picnic drinks
                                                                                                                                                                                                                                                              Cook a full meal In
                                                                                                                                                                                                                                                              two or three minutes            3.95
                                                                                        WBZ—Starlight Serenade.                                                                                  for long, cool sum-                                          when summer heat          All metal, scale to
 magnificent ceremonies were held while in the hosp'itaal. White                        WNAC—News.
 at the dedication. Rev. Henri added it was the second time he 11:20 WNAC—Round         WEEI—Pick of the Stars.
                                                                                                                the Town.                                       NEW 1948                         mer drinks.                   cold.                          drives you outside.     • check on weighti.
 Watelle, OMI, pastor, had ob- had had such a mishap. Hospital 11:30          11 :25 WEEI—Sports News.
                                                                                        WBZ—First Piano Onartel. .
 tained the co-operation of all or- authorities told him to keep his
 ganizations in the parish and a gun elsewhere than under his 11:55
 huge parade proceeded downtown      pillow.
                                                                                        WEEI—Cluli JUdnlKht.
                                                                                        WNAC—News.
                                                                              12:00 WBZ—News: Muslr-ana.
                                                                                        WNAC—United Nations Today.
                                                                                                                                                     PHILCO PORTABLE
 to be review at city hall by the
 mayor and other city officials The entrance to a Navajo In-l                                                                                  Have fun this summer
 along with Rev. Fathers Watelle, dian hogan in 'Arizona is always RADIO FEATURES                                                              with this .lovely Personal
 Lefebvre and Paquette, of t h e ' b u i l t facing east.
                                                                                               H E N R Y M O R G A N SHOW, f u n and s»t!re;   Portable. It's small and.
                                                                                           WLAW. 7.30.
                                                                                               T H U R S D A Y AT 7.30. Half h o u r musical
                                                                                           show: WBZ, 7.30.                                    lightweight and plays on                                                            Plastic                                                 Inlaid
                                                                                               E D W A R D M U R R O W interviews Senator
                                                                                           Rohc.-r A. Tart of O h i o : WJCE1 7.-13            AC-DC and batteries.                                 Unpainted                   TOILET SEAT                                            STAIR TREADS
                                                                                               THE ALDRICH FAMILY, with Ezra
                                                                                           S t o n e : WBZ. 8.0(1.                                                                                   CHESTS
                                                                                               BOSTON Q U E E N FOU A DAY, from                  . 75e*WeekIy
  Tea Made in^Tjf a Teapot                                                                 Mechanics Bulldlnc; W.SAC. 8.(in.
                                                                                               G E O R G E B U R N S and Grade Allen, com-
                                                                                                                                                                            Less Batteries'
                                                                                                                                                                                                       9.95                             6.49                                                 16.95



    muur
                                                                                           edy sketch: WBZ, R.30.
                                                                                               MUSIC HALL, ivith. AI Jolson. M. C.                                                                                                                                                     Covers 16 steps «nd
                                                                                                                                                                                                       4 Dravrin
        Is Better Tea
                                                                                           Dorotliy . Kirsten. Metropolitan Opera so-                                                                                        . Full g u a r a n t e e .
                                                                                           prano, truest: WBZ. 9.00.                                                                                                                                          White enamel finish,     the risers with inlaid
                                                                                               D I C K HAYMES SHOW, featurlnc musi-                                                              For keeping Junior's          Choice of 5 beautiful                                   linoleum in choice of
                                                                                           cal portrait of America, titled "An Ameri-
                                                                                           can roern";- Martha Tilton, In songs:
                                                                                                                                                                                                 summer     duds  in          pastel shades. Chrome           trimmed in red with      colors. Each piece
                                                                                           WEEI. 9.00. .                                                                                         order.                       hinge.                          enameled inner pail.     bound in metal.
                                                                                               GUY L O M B A R D O ar.d Royal Canadians
                                                                                           serenade H a w a i i ; WLAW. n.30
                                                                                               B A C K G R O U N D FOR STARDOM: F.leannr
                                                                                           Pou-ell tells of her steps to .success: WNAC,

                                                                                                                                                                                                                                                                    Gold Seal
                                                                                           0 :-15.
                                                                                              BOB HAWK Q U I Z SHOW; WBZ, 10 00
                                                                                              THE F A M I L Y T H E A T R E : "The Un.MJnj
                                                                                           Hero," Memorial Day dr.-irr.a. Lee Bon-                                                                                                                                                             »
                                                                                           nell and \v!fe. Gale Storrr., co-starred. Mona
                                                                                           Froemnn. actress, hostess: WNAC, 10.00.
                                                                                               R A D I O DIGEST: Rocer Pryor starred



                             TEA                                                                                                                                                                                                                          Glass Wax
                                                                                           In ".Francesco's Debt of Honor," story o*
                                                                                           Perseverance; WEEI. 10.00.
                                                                                              EDDIE CANTOR COMEDY SHOW; WBZ,
                                                                                           lO.tlo.
                                                                                              DR. DAVID C O F F I N : "Modern Medi-
                                                                                           cine Goes To the Zoo": WXAC, 10.30
                                                                                              FIRST N I G H T E R SKETCH: •• A Good
                                                                                           Joe." story of waitress who turned ac£
                                                                                           rpss: \VBEI, 10.30.
                                                                                                                                                    SOFA and BED
                                                                                                                                                                 59.95
                                                                                              FIRST PIANO QUARTET; WBZ. 11.30.
                                                                                                                                                                                                                                                           Quart                                    TK.

                                                                                                                                                                               $6.00 DOWN                                                                                   98'                    Mirtcl.
                                                                                                                                                                                                                                                                                                   Cltantr.
                                                                                                                                               A lifesaver when that unexpected week-
                                                                                                                                               end guest shows up—An attractive sofa                                                         Eliminates soap and water cleaning of glass, porcelain, plastics,
                                                                                                                                               by day—a comfortable double-bed by                                                            glazed tile,' silverware and other metal objects. Ideal for
                                                                                                                                               night.                                                                                        mirrors, windows, windshields and all glass surfaces.



                                                                                                                                                                                                         Keep Your Home Beautiful with the
                                                                on The Most Delicious
                                                               CREAM-FILLED COOKIES                                                                                                                      NEW "DUTCH BOY5*
                                                                                                                                                                                                         BLENDED
                                                 UEVerTaSted
                                    S53«d»
                                    t°".Mf!
                                       ''%!?Si^^g?.^




                                                                                                                                               Having a Rollaway Cot is like                          Making your horn* look good       Deck Paint blended lo «tand op.
                                                                                                                                                                                                   is one thing. Keeping k that way        There*! even a newt improved
                                                                                                                                                Having Another Bedroom                             —is another.                         Primer, ipceially blended to bide

                                                                                                                                                                $
                                                                                                                                                                 1695
                                                                                                                                                                                                     That's why our new line of         the old Hirfaee better.
                                                                                                                                                                                                   "Dutch Boy" Paint M blended.            To keep jonr home mart, keep
                                                                                                                                                                                 COMPLETE          Vhite blen'ded to »tty white. TinU   this in mind* Your home*! best
    Hurry fo Your Groctn for                                                                                                                                                    With Matixesi      blended to lUy right. Trim Colon     friend ii the "Dutch EOT" Blend.
                                                                                                                                                                                                   blended to itay bright. Porch and    And we've fot it!
    Special limifed-Tfm* Offer on
                                •9 ...
                                   • • ft                                      M - m - m , try C/Mtt//,'GOOD
                                                                                                                                                       USE
                Carp                                    GOOD                   Sandwich Cookies.. . . you'll                                       MIDDLESEX                                                                                                                    86-114 MIDDLESEX ST.




                                        Sandwich
                                                                               love !em! NOW, for a limited
                                                                               time only, your grocer is fea-
                                                                               turing these tempting cream--
                                                                               filled cookies .at 5c off the
                                                                               regular price.! Money-saving
                                                                                                                                                    FRIENDLY
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                                                                                                                                                                        MIDDLESEX    86-114 MIDDLESEX ST.
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                                                                                                                                                                                                                                                                                •nd MONDAY NIGHTS
                                                                                                                                                                                                                                                                               USE MIDDLESEX FRIENDLY
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                                         Cookies                               coupon is on every package.                                       ORDERS TILLED
                                                                                                                                                                        Also on Sale at Scott Hardware, 450 Bridge St.
                                                                                                                                                                                                                                                                               CLOSED ALL. DAY MONDAY
                                                                                                                                                                                                                                                                                 •nd TUESDAY NIGHTS
                              U R . C O N •, O I l O a i l D          B I 4 C U I I      C O M P A N Y
                                                                                                                                                                                                                                                                                      DIAL 6811




                                                                                                                                                            Lowell Sun, May 27, 1948,Pg. 27, Lowell, Massachusetts, US
Case 1:23-cv-05294-RPK-LB                                                               Document 1-4                                         Filed 07/11/23                                                  Page 3 of 7 PageID #: 55
                                                                                                                                                                                                         THE LOWELL SUN, FRIDAY, OCTOBER 19, 1962

                                                                                                                                    Traditional Event                                                                                                  Club News
                                                                                                                                                                                                                                                        SODALITY — There wUI
                                                                                                                                       AEFA Holds Silver Tea                                                                                         be a bean and ham supper
                                                                                                                                                                                                                                                     given by St. Anne sodalily
                                                                                                                                                                                                                                                     of Sle. Jeanne d'Arc par-
                                                                                                                                       A t Franco-A merican Orphanage                                                                                ish from -1:30 to 7:30 at the
                                                                                                                                                                                                                                                     Parish hall on Fourth av-
                                                                                                                                                                                                                                                     enue. The public is invited.
                                                                                                                                         LOWELL—A long estab- B. Lyons, program chairman                           lable, beautifully decorated      Tickets are available at the
                                                                                                                                    lished tradition of Franco- of the afternoon who gave                           with an autumn floral cen-       rectory or from the offi-
                                                                                                                                      American Educational asso- a talk on the Sisters of                           terpiece flanked by silver       cers.
                                                                                                                                      ciation took place when its Charity known as Grey                             candelabra holding orange
                                                                                                                                     members held the annual Nuns, founded in 1737 by                                                                  DLKV - Ite DLKV auiltiary
                                                                                                                                      silver tea at the Franco-                                                     tone tapers. Pourers for the     will meet Sunday at 2:30 o'clock
                                                                                                                                                                      Blessed Marguerite d'You-                    afternoon were Mrs. Harvey
                                                                                                                                     American orphanage lor the      ville, and the five detach-                                                     at 447 Central street. New plans
                                                                                                                                                                                                                   Merrier, Mrs. George E.           will be announced. All mem-
                                                                                                                                     benefit of the half century ments constituting live dis-                      Caisse, Mrs. Leo H. Beaulieu
                                                                                                                                     old Pawlucket street insti- tinc! and approved congre-                                                          bers are urged to attend.
                                                                                                                                                                                                                   and Mrs. Samuel Bernier.
                                                                                                                                      tution staffed by the Sisters gations branching from the                     Servei-s were Miss Shirley
                                                                                                                                     of Charity of Quebec, who original foundation namely                                                               PHILATHKA — The. an-
                                                                                                                                                                                                                   Morin and Miss Lilliannc          ual harvest supper, one of
                                                                                                                                     were the guests of honor of     the Sisters of Charity of                     Fontaine. Mrs. Joseph Gag-
                                                                                                                                     the day, represented by Montreal, The Grey Nuns of                                                              the two principal events
                                                                                                                                     Rev. Mother St. Elizabeth St. Hyacinthe, Ihe Grey Nuas                        non and Mrs. Victoria Simon-      sponsored by the Philathca
                                                                                                                                     du Portugal, SCQ, superior of the Cross of Ottawa, The                        neau presided at the dona-        class each year, will bo tield
                                                                                                                                     and Rev. Mother SI. Chris                                                     tion tray, and hostesses were     Wednesday evening, October
                                                                                                                                                                     Sisters of Charity of Quebec,                iMiss Beatrice Lacourse, Mrs.
                                                                                                                                     tiane, SCQ. bursar.             The Grey Nuns of the Sacred                                                     24 at 6:30 o'clock in the Cal-
                                                                                                                                                                                                                   Emilc Galgus, Mrs. Andre          vary Baptist Fellowship hall.
                                                                                                                                        In a setting of rust and Heart of Philadelphia, Pa.,                       Fauvet. Miss Florence Mar-        All who luve attended the
                                                                                                                                     brown autumn flowers and and the Grey Nuns of Pem-                            ion, Mrs. Joseph Gregoire        famous sappers know t/iat
                                                                                                                                     foliage members renewed brooke, Canada.                                      and Mrs. Philomene Lynch.         they ace inimitable. A vari-
                                                                                                                                    acquaintances with the nuns         Rev. Armand Morissette,                   Decorations were contribut-
                                                                                                                                                                     OMI, chaplain of the associa-                                                  ety of delicious home cooked
                                                                                                                                    and their friends prior to the                                                ed and arranged by Mrs Vic-       foods and desserts arc
                                                                                                                                    business meeting at which        tion gave an informative
                                                                                                                                                                     talk on present day methods
                                                                                                                                                                                                                  tor Nickrosz and Miss Jean-       senred. Tickets arc available
                                                                                                                                    Mrs. Henry Achin presided                                                     nette Morin.                      for adults and children. Res-
                                                                                                                                    and gave an account of dis- of education, thanked the                             Serving on the reception      eivations may be made un-
                                                                                                                                    bursements amounting to group for its constant sup-                           committee were Mrs. Joseph        til Sunday evening by calling
                                                                                                                                    $2923 /or various charitable port of educational projects                     Ouelletie, chairman with          Mrs. Walter Robinson at 2-
                                                                                                                                    causes made during her and outlined an interesting                            Mrs. Nelson LaiTnand, Mrs.        2031 or the church at 9-9598.
                                                                                                                                    term of office.                 plan of future activities to
                                                                                                                                                                     benefit the advanced educa-                  Paul Ouellette and Mrs. P.e-      A real treat is in store for
                                                                                                                                        Miss Shirley Morin gave                                                   gina Tousignani.                  all who attend.
                                                                                                                                    the secretary's report and tion of worthy candidates
                                                                                                                                    Mrs. Martin Tymowicz gave through scholarships.
                                                                                                                                    the financial statement. Mrs.
                                                                                                                                    Alfred Vigneault gave a re-        SUSS JACQUELINE Tur-
                                                                                                                                                                    cottc, soprano delighted the
                                           At Autumn Social                                                                         port on membership, which
                                                                                                                                    has r e a c h e d a record       gathering with her rendition
     Principals af fhe annual AEFA lilver iea held af ffie           speaker for the occasion; Rev. Mother St. Elizabeth du         number.                          of several numbers from her
                                                                                                                                        A contribution was also      extensive repertoire. She
     Franco-American orphanage pictured left to right, are,          Portugal, SGQ, superior; Miss Jacqueline Turcofta,                                              was accompanied at the
                                                                                                                                    voted to the United Fund
     Rey. Armand Morissette, OMI, chaplain «nd guest                 soloist, and Mrs. George E. Caisse, pourer.                    and      announcement     was piano       by Miss Georjianna
                                                                                                                                                                     Desrosiers.
                                                                                                                                    made that the school of             Then a}l partook of the
    League To Honor Presidents Sunday                                                               GS Council                      naturalization sponsored by lavish variety of culinary
                                                                                                                                    the association, has resumed    dellcades at the appointed
                                                                                                                                    its courses lor the fall and
      LOWELL, — The initial
   meeting of the League of
                                      brief business meeting fol-
                                      lowed by a musicale planned
                                                                       ST. MICHAEL'S: Mrs.
                                                                    John Costello, Miss Frances     Will Meet                       w'intcr seasons. Classes are
                                                                                                                                    in session every Monday and             Births
                                      by Mrs. George Macheras,      Larkin, Mrs. Leo McHale,
   Catholic women will take
   place Sunday, at 2:30 o'clock     program chairman. The offi-
                                     cers of the League are:
                                                                    Mrs. Leo Mitchell.
                                                                       Sacred Heart: Mrs. Eu-
                                                                                                    Tuesday                         Wednesday evenings in the
                                                                                                                                    hall adjoining St. Jean Bap-
                                                                                                                                    tiste church. The Christmas aidOESMARAIE.
                                                                                                                                                                             Lowell General
                                                                                                                                                                                   od. IL *osM»r, Mr.
   when Lilicrty hall will be the                                   gene A. Fitzgerald. Mrs. So-                                                                          Mrs. Raymond 0«nwo'i, 2?3
   scene of the past presidents      'Miss Agnes Dreven, lirst                                         LOWELL — The Greater-        fair is scheduled for N'ov. NeimH* ilretl.
   tea. Miss Mary Teaguc will        vice president; Mrs. Edward    lon G. Leary, Miss Eleanor      Lowell Girl Scouts, Inc. will   14 and will be held in file Mrv   D!fJI50H, CKl. IS, (Krjtfllir, Mr. ond
                                                                                                                                                                          John Denlson, J] Janet read,
   bo cluiinnan.                     M. McKinlcy, Jr. 2nd vice      Finnegan, Miss Anne Finne-      hold its fall council meeting   CMAC hail.                      Oitfmsfwd.
                                     president; -Miss Mary Lyons,   gan, Miss Mabel Sullivan.       at the new Knights of Co-                                                GL*RDON. Del. II. OougMw, Mf.
      Pourers Jor the tea will be    treasurer and Mrs. James          Immaculate Conception:       lumbus hall at the junction       JIBS. ACHIN appointed
                                                                                                                                                                           and Mrs. J*n CI»*x>J Old lowtll
                                                                                                                                                                           read, VVejtford.
   Mrs. Xeil A. Boyle and Miss       Willy, corresponding secre-    Mrs. Clyde Allen, Miss Kath-    of Lakcview avenue and                                                       St Joseph's Hospital
   Esther    Rums;      assistant                                                                                                   Ihe following committees:
                                     tary.                          leen Byrt, Miss Mary Hag-       Nashua road in Dracut on       Mrs. Leon Bolduc and Miss           i    GAG NOW, Oct. 1?, ion, Mr. ond Mrs.
   pourcrs. Miss Mary Lyons                                         gerty, Miss Stella Maloncy,     Tuesday, Oct. 23, at 7:30                                              George Gogoon. 144 Flftrtwr str«t.
   and Mrs. Walter Mahnney,             Also Mrs. George Desrcch-                                                                  Aldea Ducharme, co-chair-                      St. John's Hospital
                                     ers, chairman of decoration,   Mrs. ]<eonard McDennoi!.        o'clock.                       men of the plant auction;                  THBESHLR, Od. II, douoMw. Mr.
  Sr.                                                                  Ste. Jean Baptist: Mrs.        There will be a brief                                                ond Mrv Hordrl E. Thrtshtr, M Oo.'n
                                     Sirs. Thomas Sullivan, chair-                                                                 Mrs. Harvey Merrier and                 ovfri*. Blflefko.
     Past presidents of the         inRn of hospitality, Mrs.       Blanche Congclose, Mrs.         business meeting with ic- Miss Florence Marion in                         GROVER fx.1. 19 daucMcr Mr. o/xj
  League are: Mrs. John F.           George- Deaudelin, co-chair-   Anna Gnuthier.                  porfs on the progress of the   charge of the cake and                  Mrs. Glentfon Grover, 443 Middlesex
  Kaunclei:;, Mrs. William H.                                                                                                                                              Turnpike, Billerfco.
                                     man of hospitality,- assisted     St. Rita's: Mrs. John R.     area development committee pastry table. Mrs. Joseph                     CALHOJN. Oct. If. douoMfr. Mr.
  Sullivan, Miss Ruth Murphy,        by Mrs. Richard Botti, Mrs. Mahoney, Mrs. Hcfby Doyer         by Mrs. Lamsoti and on the      Ouellette, chairman and                 aid Mrj. V f o Cafhoun, 12 Cam&ridoe
  Miss Jo3n Snanlcy, Miss H<-!-                                                                                                                                            f/oct.
                                    Catherine Thompson, Mrs.       and Miss Gertrude Savage.        program change by Mrs. Mrs. Alfred Vigneault, co-                             Emerson Hospital
  en MulcAliy. Miss Rita Kil-       Leon Sullivan and Mrs.             St. Margaret's: Mrs. John   Walter McNamara.               chairmen will supervise the                                                              •wru saeisc You/r YOU nu. us mcsfCKir-
  roy, Mrs. Mary M. Lynch,                                                                                                                                                           (Concord)
                                     Frauds Ledgard. Miss Mary Conway, Miss Mary Fitz-                The Greater-Lowell Girl novelty table assisted by                     MILLER. Od. II. ion, Mr. ortd Mru        HOWDO YOU BIT YOUR PtOPLE 10 OIVC TH£ UMITCO WAY"
  Mrs. George B. Markliam,          E. Kourkc is chairman of       gerald. Mrs. Edward H.issett,   Scouts who went to the members of the association.                      Cncr'ts Milltr, 81 Hcmirwid Jlrwi,
  Mrs. O. Edward Diiti]?. Mrs.                                                                                                                                             Aden.
                                                                   Miss Jane -\elligan.
  Cecil P. Dodge. Mrs. John J.
  Savage, Miss Esther Burns,
  Mrs. .Veil A. Boyle, Mrs. Ern-
                                    ushers and Mrs. Arthur Sut-
                                    cliffe is chairman of servers.
                                        A partial list of servers
                                    and ushers are: SL Patrick's
                                                                      St. Peter's: Mrs. Margaret
                                                                   Swan, Mrs. Patrick Conway,
                                                                   Miss Mabel Hey, Miss Vir-
                                                                                                   roundup last summer will The apron table will he under
                                                                                                   s?iow their slides and tell of
                                                                                                   their experiences.
                                                                                                                                  the direction of Mrs. Paul
                                                                                                                            The Ouellctle, Mrs. Leo Beau-
                                                                                                   senior troop from Tyngsboro chesne and Mrs. Leo Beau-
                                                                                                                                                                             RICHARDS, Ocl. 1». 50n. Mr. md
                                                                                                                                                                           Mrs. Fred Rkhardi, SixHurry rood,
                                                                                                                                                                           sa-                                                                  1  CAMPAIGNS IN

  est C. Sullivan, Mrs. William
  Moriarty.
    Rev. Vincent A. Jakul,
                                    •Mrs. William Conlcy, Mrs.
                                    Catherine      Conlon, Mrs.
                                    Francis Regan, Mrs. William
                                                                   ginia Dooley and Mrs. Ed-
                                                                   ward Quiglry.
                                                                      I10LV TRINITY: Mrs,
                                                                                                   under the leadership of Mrs. lieu, co-chairmen.
                                                                                                   A r t h u r Holmes mil present
                                                                                                   a "Program Surprise."
                                                                                                                                     Members are invited to
                                                                                                                                  send articles to ihe various
                                                                                                                                                                                                                                      UNITED FUND
  chaplain, will be ihe hon-        B. Toohey, Mrs. Robert Bry-    Charles Malis/ewski, Mrs.          Ail registered Girl Scout chairmen for their tables at                                                                           OF GREATER-LOWELL
  ored guest.                       an, Mrs. Robert Howe, Miss     Jan Majder, Mrs . Walter        adults are invited to attend   the fair.
     Mrs.    Harold     Newton,     Alice Kicrnan, Mrs. Arthur     Szczypinski and Mrs. Helen      this meeting (o keep up with      Alter the meeting, Mrs.                                                                            150 Middlesex Street, Lowell
  president, will conduct a         Crvan.                         Szczypinski.                    the news.                      Achin presented Marguerite




                                                                                                                                                                                       that good feeling
                                                            IF It's Furred
                                                        It's Right.. and                                                                                                                       starts now...
                                                             Its For You!
                                                          ALL KINDS OF FUR
                                                          TO ADD A FEMININE
                                                          POINT OF VIEW TO
                                                          IMPORTANT COATS

                                                         This ii the look [or women
                                                         •with unerring good laste,
                                                         an elegant coat crownec!
                                                         with a deep luxurious lur.
                                                         Shown here, just one ex-
                                                         ample from our ™perb
                                                         collection of fur Irimmrd
                                                         coals. This silhouelte is
                                                         straight and classic with a
                                                         natural blue fox collar on
                                                         beige oatmeal Iweed, 8 to
                                                         16.                                                                                                                        with sheer
                                                                             109.00
                                                               plo! SfcH stamps
                                                         Ask about the sovcn dif-
                                                         ferent credit plans, one (o
                                                                                                      Mook-Twice Fashion
                                                                                                                                                                                         all-nylon

                                                                                                                                                                                                       Supp4iose       _JL    JL           M A^ff* •«•"**
                                                                                                                                                                                                                                           KAYSER'
                                                         stilt rverj-nne. It's easy
                                                         to buy at Follards!                          100% Wool Jacket Dress |                                                                                                Stockings by


                                                                                                             19.98                                                               Tha minute you pal on i pair erf Supp-hose, you (eel the difference! Your legs
                                                                                                                                                                                            get gentle support... a wonderful relaxed feeling that lightens
                                                                                                                   plus S&H tlnrr.pi                                             your busiest day. Yet Supp-hose Took like other fashion-sheers, because they are
                                                                                                      Compliments itarl the moment you put on                                          all-nylon. Whatever your age, yon'U look good and feel good, too... with
                                                                                                      this serni-jacVet dress. Come out as early at                                Supp-hose stodongs! And remember, Supp-hose outwear regular
                                                                                                      lea at the club and slay right into evening.                                          nylons by far, actually save you money!
                                                                                                      The full skirl has deep inverted pleats.
                                                                                                      Available in red, blue, navy, brown 12-18.                                                 In your choice of styles and fashion eivades.                   4.95
                                                                                                      pbllnrds second lloor (or (nshion
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       LATEST                  POPULAR                                   The Order of Grey Nuns
   Coping with past trauma through                                       Facilitated Child Kidnappings
   childhood memories
   Opinions – 04/13/22                                                   A Peoples’ History of Canada Column
                                                                          OPINIONS    Lou Teeluck — Published September 4, 2018
   The Refugee Centre launches a new
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   The challenges faced by students in
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   Concordia security restrained woman in
   revolving doors
   News – 04/10/22




                                                                          Graphic Aiden Locke



                                                                         If Concordia students are familiar with the Grey Nuns, it’s
                                                                         probably because of the charming residence that bears their
                                                                         name.
                                                                         But there’s also a dark past involving the Grey Nuns of Montreal—it was one of the various religious
                                                                         orders responsible for what came to be known as the tragedy of the Duplessis Orphans.

                                                                         In the 1930s the Grey Nuns hid execrable secrets behind its charitable facade. Investigations have since
                                                                         revealed that the ex-convent was host to numerous crimes.

   CURRENT ISSUE                                                         The building we now call Grey Nuns was host to countless atrocities perpetrated upon wards of the state
                                                                         settled there. Hundreds of thousands of children were physically and sexually abused, purposefully
                                                                         misdiagnosed with mental disabilities, and tortured for financial gain.

                                                                         These children became known as the Duplessis Orphans. Several decades after the tragedy, some of the
                                                                         survivors formed the Duplessis Orphans’ Committee and filed a class action lawsuit against the
                                                                         government and church to seek reparations. Due to the cruelty they had to endure, many have been
                                                                         unable to lead healthy adult lives. Scarce reparations have been accorded, but the meager amounts have
                                                                         only left them further aggrieved.

                                                                         The story of the Duplessis Orphans takes place in an era known as La Grande Noirceur, or The Great
                                                                         Darkness. Poverty was widespread from the Great Depression and conservative values dominated the
                                                                         political sphere. Spearheading this political force was premier of Quebec Maurice Duplessis with strong
                                                                         support from the Roman Catholic Church.

                                                                         During his time in power from the mid-1930s to the late 1950s (with one break where the Liberals re-
                                                                         took power), Duplessis transferred power to the Church by extending their responsibilities to include
                                                                         operation of most social services like orphanages. This gave the Church authorization to act as a
                                                                         government-sponsored agency—minus any form of public accountability.

                                                                         At the time, federal funding allocated $0.70 to $1.25 per day, per orphan to the church. If an orphan was
   The Sidewalk Issue
                                                                         mentally disabled, they received $2.50 in subsidies. This precipitated a mass scale process of
                                                                         proliferating “orphans” and intentionally misdiagnosing them as mentally disabled to qualify for the
                                                                         larger subsidy.
   VIDEO
                                                                         In many instances, the children recruited weren’t legitimately orphaned. Nuns and priests would travel
                                                                         to low-income neighborhoods throughout Quebec and Eastern U.S. and convince parents to hand over
            The Link: March for …                                        their children, promising them a better future.

                                                                         Bernard Piché, a doctor who falsely certified the orphans as mentally disabled, admitted to not
                                                                         examining any children in 1999. In a statement, Piché said, “I did it because the nuns asked me to.”

                                                                         Religious orders converted orphanages into psychiatric hospitals in order to maximize fiscal gain. An
                                                                         investigative report done by social activist Léo-Paul Lauzon revealed the finances of the scandal. The
   Montreal students march for free                                      study concluded that the government and Roman Catholic Church were recipients of over 70 million in
   education
                                                                         subsidies and in one instance saved 37 million by converting one of its orphanages into a mental
                                                                         hospital.

                                                                         Multiple ombuds said the investigation proved difficult due to the lack of existing documents. Thousands
                                                                         of files regarding patient identities and communication channels were missing. However, some survived.

                                                                         The surviving orphans’ class-action lawsuit mentions a Quebec government authorized investigative
                                                                         report contained evidence of ice baths, torture, beatings, and other forms of abuse. The petition includes
                                                                         a quote from an involved psychiatrist saying “orphans died from psychiatric treatments and that these
                                                                         treatments were nothing more than sadistic pseudo-treatments.”

                                                                         Multiple testimonies from surviving Duplessis
                                                                         orphans describe similar experiences. In a New
                                                                                                                                               Nuns and priests would travel to
                                                                         York Times interview from 1999, an orphan
                                                                         recounted being put in a straitjacket and tied to a                   low-income neighborhoods
                                                                         bed frame for weeks on end, surviving from the                        throughout Quebec and Eastern
                                                                         food she was force fed. Her abuser was said to be a                   U.S. and convince parents to
                                                                         sister belonging to Grey Nuns of Montreal, one of
                                                                         the religious orders repeatedly brought up in the
                                                                                                                                               hand over their children,
                                                                         class action lawsuits.                                                promising them a better future.

                                                                         Rod Vinneau, a spokesperson for the Duplessis
                                                                         Orphan Committee spoke about the atrocities that occurred during this time in an interview in 2016. He
                                                                         says the hospitals built to facilitate the torturing of children were under the rule of the American
                                                                         Psychiatric Association and C.I.A.

                                                                         The matching testimonies of the Duplessis orphans being tortured with electro-shock therapy, forcible
                                                                         injections with powerful drugs and other human experimentation raises serious concern that this
                                                                         tragedy was part of MK Ultra—a US government program which honed torture techniques and had a
                                                                         known human-experimentation centre in McGill University.

                                                                         Sylvio Albert Day, a Duplessis Orphan, says that one of the priests was Joseph Mengle, a former Nazi
                                                                         doctor during World War II. Day’s job was to transport dead bodies into unmarked graves. Some of these
                                                                         bodies had to be cleaned because in 1942 Quebec law allowed nuns to sell unclaimed bodies to medical
                                                                         schools for $10.

                                                                         A lawyer representing the Duplessis Orphan Committee filed a motion to have an abandoned graveyard
                                                                         dug up. The committee believed thousands of orphans were buried at this site and forensic testing could
                                                                         provide evidence of torture and medical experimentation. Despite over two thousand bodies being
                                                                         discovered, no report on forensic study was released, or even occurred in the first place.

                                                                         Later that year in 1999, the Quebec government offered $15,000 to each orphan that was misdiagnosed,
                                                                         which was the government’s first financial response to the allegations. This settlement was rejected and
                                                                         heavily criticized, especially because the lawyers on behalf of the government were paid over $1,000 a
                                                                         day.

                                                                         In 2001, 1,100 of the remaining Duplessis Orphans accepted a $25 million settlement. This amounted to
                                                                         approximately $10,000 plus $1,000 for every year they were wrongfully detained and incorrectly
                                                                         diagnosed. This settlement was not eligible for those that were abused but not misdiagnosed. In
                                                                         negotiating the settlement, each recipient had to sign an agreement that they would not pursue the
                                                                         Roman Catholic Church for further compensation and prosecution.

                                                                         Some of the Duplessis Orphans did not accept the settlement on principle and continue fighting for
                                                                         justice. Much of the evidence presented during the trial was obtained with strong resistance from the
                                                                         government and Church. Even though financial compensation was earned, the committee believed it
                                                                         wasn’t enough.

                                                                         While many of the individuals involved in the abuse of orphans have likely passed away, the institutions
                                                                         which governed it and shielded its perpetrators remain strong—and, in the Church’s case, mired in more
                                                                         abuse allegations. Justice, in this case, will look like holding these institutions accountable for the crimes
                                                                         they perpetrated.

                                                                         Although this outcome seems impossible, like all activism, it is worth fighting for.

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‘Horrors’ and healing
BY LINDSAY TICE, STAFF WRITER




 A Grey Nun from St. Joseph’s Orphanage in Lewiston reads to a group of girls in this undated photo. Women from the orphanage say they were
 abused as children by the nuns who ran the institution.



After decades of silence, the women of St. Joseph’s Orphanage
talk about their abuse and about finding peace.                                                                                                                DAILY HEADLINES
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Editor’s note: This story contains descriptions of disturbing events.                                                                                          day to your inbox at 6 a.m.

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LEWISTON — Every day for seven years, Julie Fortin Jipson’s morning started with the
sounds of screaming and sobbing.                                                                                                                                   SUBMIT



The nuns didn’t tolerate bed wetters.

“They used to put the girls who wet the bed up front, all together,” Jipson said. “Every one
that she pulled up there, they’d sit there and they’d shake. I’m talking little kids. She’d take
them by the head and throw their face right in the piss and hold it there while she’s hitting
the hell out of them.”

As an adult, for the longest time, Jipson wondered if she imagined the horror that she
endured growing up at St. Joseph’s.

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Being called by a number, like a prisoner.
                                                                                                                                                               3      Drivers injured in head-on collision in Auburn

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she had loved and cared for like a little sister — shaken so forcefully that her head snapped
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During her darkest times she wondered, after five decades with these memories, if maybe
they were memories at all.

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Then she found other girls of St. Joseph’s, women now, most of them old enough to be
grandmothers and great-grandmothers. Jipson had just wanted a reunion, a gathering of
the girls she’d known, but her tentative query in the Sun Spots section of the Sun Journal
around 2011 revealed so much more.

The women who responded were hesitant at first, too scared to give her their names even
though the orphanage had been shuttered since the 1960s, but they offered similar tales of
abuse. They bore so many of the same memories.

“I was thinking, ‘Oh my god, those were not nightmares. It really happened,'” said Jipson,
67.

Not only did it happen, she realized, but it went back decades.

Gradually, as they talked by phone, the women grew more confident. They started sharing
their names. They agreed to meet.

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That first gathering in 2012 was part reunion, part catharsis. It led to the formation of two
groups that still meet regularly in the Lewiston area.

“An 80-something-year-old came and she was crying. She was saying, ‘Thank you, thank
you,'” Jipson said. “She says, ‘I’ve been telling my husband and my kids what happened. I
told everybody my whole life. Nobody believed me. Thank you.’ She’s hugging me and she’s
saying, ‘Thank you so much for doing this. Now I can die in peace.’ She died a year later.”

But while the gatherings proved healing for some, there was still anger, still disbelief.
Talking among themselves wasn’t enough.

Last year, Jipson and the women of St. Joseph’s reached out to the Grey Nuns, the Canadian
Catholic order that ran the orphanage.

They wanted their voices heard.

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‘A mini concentration camp’

Nuns from the Sisters of Charity — also called the Grey Nuns — arrived in Lewiston from
Saint-Hyacinthe, Quebec in the late 1800s. The order’s mission was to care for children, the
elderly, the sick.

The sisters would found Lewiston’s Catholic hospital, now St. Mary’s Regional Medical
Center, but one of their very first acts in the city was to take orphans into their Walnut
Street home.

In 1888, the sisters and 40 children moved to a home on Sabattus Street, according to the
book “The Franco-Americans of Lewiston-Auburn” by Bates College French professor Mary
Rice-DeFosse and James Myall, who was then coordinator of the Franco American
Collection at University of Southern Maine’s Lewiston-Auburn College.

In 1893, the sisters began running an orphanage for boys on the corner of Ash and Bates
streets. It would be known as Healy Asylum.

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In the 1920s, the sisters built the Marcotte Home on Campus Avenue. One section was
reserved for the elderly, another section for St. Joseph’s, the girls’ orphanage and school.

St. Joseph’s housed over 100 girls at a time, from toddlers through teenagers, but many
weren’t actually orphans.

With little in the way of day care, some single parents paid to place their girls in St.
Joseph’s so they could work. Other parents were married but going through a rough patch
or were too poor to support the whole family and chose St. Joesph’s to be a safe, often
temporary home for their children. Others sent their girls to St. Joseph’s for the French-
speaking Catholic school, boarding them there during the week and bringing them home
on weekends and during summer vacation.

“Who was closer to God than the priests and the nuns? So you were in a good place. That’s
what they thought, anyway,” said one 65-year-old woman who spent three years at St.
Joseph’s and asked to remain anonymous for this story.

For some girls, St. Joseph’s was a haven. At home they’d been molested or had nothing to
eat or their parents were alcoholics; the nuns provided a life and education away from that.

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Even for the girls who disliked St. Joseph’s, there were bright spots: singing in the choir,
playing with the groundskeeper’s family pony, always having other girls around,
connecting with a special teacher or a kind nun.

“(There) was the kindergarten teacher and she was a soft lady. Very soft,” recalled Suzette
Loubier, who was 4 years old when her parents placed her in St. Joseph’s for a year and a
half in the early 1950s so they could work. “She taught writing, penmanship, and she had
beautiful penmanship. Because of her, I have nice penmanship that I enjoy. It set me off
many years in the art world. It was a gift.”

But for Loubier and a lot of the girls, the good never outweighed the bad.

“It was a mini concentration camp. That’s what I call it,” said Loubier, 71.

‘We lived in fear’

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About a dozen women who shared their stories with Jipson agreed earlier this year to talk
publicly for the first time, to tell the Sun Journal about their lives at St. Joseph’s. More than
half asked to remain anonymous, while a handful agreed to use their names. They ranged
in age from 63 to 84 and were at the orphanage between the 1940s and 1960s.

Although not every experience was the same — one girl was coddled and sheltered for
years as the youngest in the dormitory — their stories were similar and showed a pattern
across decades.

All the girls were immediately stripped of their names and assigned a number when they
entered St. Joseph’s.

“My number was 0 plus 73. On all your clothes you had a number. . . We were all called by
our numbers. Nobody was called by their name,” said Jipson, whose single father brought
her and one of her sisters to St. Joseph’s in 1957, where she would live from age 7 to 14. “It
was demeaning. It would make you feel like you were a number, literally.”

All recalled being hit by the nuns or seeing other girls hit, sometimes savagely.

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“They liked to pound you on the lower neck but upper back,” said 84-year-old Jacqueline
Nicolas, remembering the day one of the nuns falsely accused her of writing on her new
grade school desk in the 1940s. “She kept hitting me and hitting me and hitting me (with
her fist). I said, ‘No I didn’t write on that!’ And she kept hitting me.

“So finally I said she’s going to leave me alone if I say I did put something there. So I said,
‘Yes, yes I did.’ And then she said, ‘What did you write?’ I said, ‘I don’t know. I don’t know.
My name.’ And she said, ‘You’re lying again.’ So she beat me. She kept going and going.
Finally she let go. She was panting. I figure that’s why she quit, she was exhausted from
beating me.”

Most remembered nuns being particularly intent every morning on punishing girls who
wet their beds.

“They were bare bottom and the nun would just keep hitting them until their butts were
red as a beet. You could hear them screaming,” said the 65-year-old woman who asked to
remain anonymous.

Many remembered other physical discipline, including being forced to kneel on dried peas
for hours. Some saw nuns shake younger girls. A few saw at least one child with intellectual
disabilities restrained in a chair for hours at a time.

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“She used to be tied to the chair and the next thing you know the chair was bouncing
everywhere as she tried to get out. Every day, that poor girl was tied. I remember her peeing
on that chair,” Jipson said. “That I remember like it was yesterday. That made me sick.”

Many recalled problems with food — there wasn’t enough, it was moldy, there were
mealworms in it or it smelled rancid. Not eating wasn’t an option.

“You had to eat everything,” Loubier said. “I would throw it up. I would throw up in my
plate and I would have to eat my throw up. And they would keep me there until everybody
else was gone. I was there until I ate it. It was every week. At least once a week.”

Many remembered being humiliated and degraded by the nuns, called “ugly,” “stupid” or
“whore,” among other things.

“Sluts wear that kind of hair,” one woman said she was told when another girl teased her
hair into a different style.

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There were other problems too — too few blankets to keep warm at night, bath water
reused for dozens of girls, an education that left some almost illiterate in English, a lack of
anything resembling affection.

Sexual abuse was about the only abuse they didn’t endure there, they said.

“Fear,” said one 77-year-old woman who lived at St. Joseph’s in the 1940s and asked to
remain anonymous. “We lived in fear.”

Silence

Few members of the public knew what was happening at the orphanage, the women said.
They recalled being dressed in pristine clothes for photos and special events and being
given toys at Christmas, but those clothes were whisked away as soon as the event was over
and the toys quickly disappeared.

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Girls did sometimes complain about their treatment at St. Joseph’s — to their parents, to an
orphanage benefactor who happened to be in the building, to a stranger who caught them
running away — but they said their complaints were largely ignored.

“I was told that I was lying, that the nuns could not have done what we said they did,” said
the 65-year-old woman who asked to remain anonymous.

Others never told anyone about their experiences, even when they grew up, for fear they
wouldn’t be believed or because they didn’t want their parents to feel guilty.

Although rumors long swirled about abuse at St. Joseph’s, almost no one said anything
publicly.

“People are very reticent to talk about the nuns in any kind of pejorative way,” said Rice-
DeFosse, who interviewed former St. Joseph’s residents for a Gendron Franco Center video
documentary on the Sisters of Charity several years ago. “You would ask and they would
say, ‘We don’t talk about that.'”

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Girls left St. Joseph’s for different reasons. Some were pulled out by parents whose
circumstances had changed. Some left on their own when they turned 18 or 19. Some left
when the orphanage shut its doors in the mid-1960s.

The women who talked to the Sun Journal said they have sought their orphanage and
school records over the years to no avail. They said they were told the records were in
Canada. When they later asked the Grey Nuns in Canada, they were told the records were
gone.

All the women went on to build new lives. But they carried with them the trauma of St.
Joseph’s.

“There’s no movie that’s more scary than what we experienced,” Loubier said. “Right under
everybody’s noses. With a big crucifix around their necks.”

Many of the women said they’ve had problems trusting other people and navigating
relationships. Those with children found themselves stuck on one end of the parenting
spectrum or another: very lenient or overly protective, extremely affectionate or very
restrained.

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“I wasn’t a loving mom. How could I give what I didn’t have?” asked Denise Godwin, who
spent three years at St. Joseph’s in the 1960s and later raised four children.

As time went on, some started to wonder whether they imagined the abuse. Fifty, 60, 70
years out, some of it seemed outlandish, horror movie-esque.

“I’m 71 and I’ve been dragging this along with me my whole lifetime and no one to talk
about it with. No one could possibly understand the misery and the pain,” Loubier said.

A reunion

Around 2011, Jipson, who lives in Greene, posted her query in the Sun Journal’s Sun Spots
column: Would any St. Joseph’s women want to get together?

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She was thinking of a reunion of her childhood friends. What she got instead were
anonymous phone calls, intense conversations, tears.

“I had memories, but I had no idea the extent (of the abuse). I didn’t know how bad it was
for so many women,” Jipson said. “I thought it was just my group, but it went back 40
years.”

Gradually, the women agreed to meet. On March 4, 2012, they held a reunion at Davinci’s
Eatery in Lewiston. Ten or 12 said they’d come. More than 20 showed up, including a
woman in her 80s who had just gotten out of the hospital.

“It didn’t take long. At our first luncheon we started talking and everything came out,”
Jipson said.

That reunion led to a regular monthly luncheon, a kind of support group for women who
call each other “my sister.”

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“We healed together,” Jipson said. “As we got together we started talking about things. It
was validation. It was, ‘That really happened?’ ‘Oh, yes.'”

A second group later split off from the first, forming their own regular get-togethers. There
is also a Facebook page.

But while the gatherings were validating and, for some, healing, there was still anger. How
could this have happened? Did anyone in Sisters of Charity care?

The Grey Nuns left Lewiston years ago, but the order still existed in Saint-Hyacinthe,
Quebec. A few years after that first reunion, Jipson reached out and asked for a meeting.

“It was like a calling for me. That’s the only way I can put it,” Jipson said.

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Sister Diane Beaudoin, general superior for the Grey Nuns, agreed to come to Maine.

The visit

On Feb. 2, 2016, Beaudoin, another sister and about 15 women from St. Joseph’s sat in a
circle at St. Phillip’s Church in Auburn.

“One girl started talking a little bit, then another girl started talking a little bit,” Jipson
said. “We were there for almost three hours.”

As the stories spilled out, Jipson said Beaudoin seemed distraught.

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“She said, ‘We had heard there was abuse, but we had no idea the extent of the abuse,'”
Jipson recalled.

Jipson said she made it clear that the women didn’t want money and were not interested in
suing anyone. At the end of the meeting, Jipson said, Beaudoin asked her what she wanted,
what the Grey Nuns could do.

“I said, ‘I’ll tell you what, what I want is validation for what went on there,'” Jipson said.

Six weeks later, a two-page letter arrived in Jipson’s mailbox, addressed to her and “the
women of St. Joseph.” It was from Beaudoin.

“I am so sorry for all you suffered; for a childhood robbed of happy carefree days and
comforting affection; for the consequences you have suffered and carried well into
adulthood, affecting and coloring your entire lives,” Beaudoin wrote. “In the name of all
the Sisters of Charity, I want to express my deepest apology for all you have suffered and
continue to suffer all these years since leaving the orphanage. To say we are sorry seems
like so little in the face of your tremendous pain, but know that our hearts have been
profoundly touched by your pain.

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“Because of your courage and strength, you have brought us to a new truth that will forever
change us as a community.”

In the letter, she offered to help pay for counseling for the women and said this new
knowledge of the abuse at St. Joseph’s has “spurred us on to make sure this does not ever
happen again in any of our sponsored institutions involving children.”

Sisters of Charity no longer maintains orphanages in the United States or Canada, but it
does run 20 schools and three centers for girls in Haiti, according to Beaudoin’s letter. She
said protecting children from abuse was already a topic there, and directors and teachers in
Haiti were committed to making sure children weren’t hurt under their watch.

“Because of your initiative to make us aware of what you have all suffered, I commit myself
to personally supervising this process closely and seeing to it that this initiative on their
part is followed up, that policies are written and that they are enforced in all our schools
and centers for children,” she said. “I will also see to it that all our sisters in Haiti are made
aware of this dark side of our past and that they all receive the proper training and help
needed to care for the children entrusted to them.”

Beaudoin ended the letter by saying she was grateful for the women’s willingness to share
their pain with her.

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“May it bring you some peace and healing to know that you have been instrumental in
raising our awareness and leading us to change,” she wrote.

Jipson called the letter “intense.”

“I felt like 50 pounds off my shoulders,” she said. “I felt like my job was done at that point.
I felt that, ‘Yeah, that’s what you were looking for, Julie.'”

The aftermath

A year later, the women still meet for lunch regularly but, in Jipson’s group at least,
conversations are more likely these days to focus on husbands, kids and grandkids than
child abuse. And when St. Joseph’s does come up, the women talk about the funny stories
and good times — like secretly dancing to the radio while working in the laundry room — as
much as they do the bad times.

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“You’ve got to let go or you’re going to have a very unhappy life if you don’t,” said the 77-
year-old woman who asked to remain anonymous.
                                                                        Case 1:23-cv-05294-RPK-LB         Document 1-4      Filed 07/11/23    Page 6 of 7 PageID #: 58

Some of the women said they understand what might have led the nuns to be abusive. Just
two sisters were in charge of more than 100 girls at a time, with no breaks, no days off, and
just one short trip away each year. There was little money, even for food. Some of the nuns,
they thought, only knew harsh discipline themselves as children.

“They really didn’t give them enough help,” said one 69-year-old woman who lived at St.
Joseph’s in the late 1950s and early 1960s.

Others say there’s no justification.

“Absolutely, those women never should have been alone,” Jipson said. “But I’ve said it
before and I’ll say it again: Nothing excuses the horrors that we experienced in that place.”

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The women are divided, too, on whether the story of St. Joseph’s Orphanage should be told
publicly.

Some believe the experience is done, the order has apologized and nothing good can come
from opening old wounds. They believe the private trauma of the girls should remain
private.

Others believe they have been silent long enough.

“I saw my mother last night. She’s 96 . . . and she said it’s about time this story was told,”
said the 69-year-old woman who asked to remain anonymous.

The Sun Journal reached out to Beaudoin over the course of four weeks without response.
In a telephone interview on Friday, she said the letter she sent the women, which Jipson
has forwarded to the St. Joseph’s women who contact her, was supposed to be private. She
also said she was uncomfortable with a story on abuses at the orphanage. However, she
said she respects that some women felt the need to tell their story publicly so such abuses
don’t happen again.

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“I cannot say anything against that,” she said. “If this is a dark side of our history that
needs to be put out there, then OK, so be it.”

Jipson and other women stress that the Grey Nuns did a lot for Lewiston-Auburn for many
years. The order started schools, built a hospital, helped the poor, cared for the elderly. The
women of St. Joseph’s said they don’t want to take away from that reputation.

“The good they’ve done in the community absolutely still stands,” Jipson said.

But it bothered the women when the nuns were honored and celebrated over the years.
There was another side of the story to tell.

Jipson doesn’t want the women of St. Joseph’s to have to hide anymore.

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“For this story not to be told, for me, is sacrilegious,” she said. “We’re here. It was real.
We’re survivors, not victims.”

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 Maison Marcotte, the former Marcotte Home on Campus Avenue in Lewiston, was the location of St. Joseph’s orphanage from the 1920s to the mid-
 1960s.



“Who was closer to God than the priests and the nuns? So you were in a good place. That’s
what they thought, anyway.”

   Excerpt from Sister Diane Beaudoin’s letter to the women of St. Joseph’s Orphanage

“I am so sorry for all you suffered; for a childhood robbed of happy carefree days and
comforting affection; for the consequences you have suffered and carried well into
adulthood, affecting and coloring your entire lives. In the name of all the Sisters of Charity,
I want to express my deepest apology for all you have suffered and continue to suffer all
these years since leaving the orphanage.

“To say we are sorry seems like so little in the face of your tremendous pain, but know that
our hearts have been profoundly touched by your pain. Because of your courage and
strength, you have brought us to a new truth that will forever change us as a community.

“We must and do accept this truth about our past, our hurtful acts and our neglectful
silence. It is a dark side of our history that you have helped us to see and accept and that
we now must and will fully integrate into our history. No longer will we present ourselves
solely as having accomplished great things, but also as having gravely failed in some
instances in our mission to care for the most vulnerable.

“Thank you for bringing us to this truth, for your initiative in speaking out so that never
again will these things happen. I hope that the awareness of the good you have done, will
help you all in your healing process.




 Girls attend class at St. Joseph’s Orphanage in Lewiston in this undated photo. More than 100 girls lived at the orphanage and went to school there at
 any one time.


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 Girls from St. Joseph’s Orphanage in Lewiston sing in a choir in this undated photo. Some women have said the choir was one of the few bright spots
 during their years at the orphanage.



“They liked to pound you on the lower neck but upper back,” said 84-year-old Jacqueline
Nicolas, remembering the day one of the nuns falsely accused her of writing on her new
grade school desk in the 1940s. “She kept hitting me and hitting me and hitting me (with
her fist). I said, ‘No I didn’t write on that!’ And she kept hitting me.”




 Julie Fortin Jipson, center, is pictured with her brothers and a sister in Canada when she was about 5 or 6 years old. She and her sister were later
 placed in St. Joseph’s Orphanage in Lewiston so her single father could work. She was 7 at the time and would live at St. Joseph’s until she was 14.




 Suzette Loubier takes her first communion at St. Joseph’s Orphanage in Lewiston in the early 1950s. “There’s no movie that’s more scary than what
 we experienced. Right under everybody’s noses. With a big crucifix around their necks,” she said of abuse at the orphanage.


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“They were bare bottom and the nun would just keep hitting them until their butts were
red as a beet. You could hear them screaming.”




 Suzette Loubier, age 8.
 Loubier was 4 years old when her parents placed her in St. Joseph’s Orphanage in Lewiston for a year and a half in
 the early 1950s so they could work.



Loubier was 4 years old when her parents placed her in St. Joseph’s Orphanage in Lewiston
for a year and a half in the early 1950s so they could work.




 A nun attends to children at St. Joseph’s Orphanage in Lewiston. Many of the women of St. Joseph’s remember girls getting beaten every morning for
 wetting their beds.


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“I saw my mother last night. She’s 96 . . . and she said it’s about time this story was told,”
said a 69-year-old woman who asked to remain anonymous.




 Girls from St. Josephe’s Orphanage pose outside in this undated photo. St. Joseph’s housed over 100 girls at a time, from toddlers through teenagers,
 but many weren’t actually orphans.




 Denise Godwin lived at St. Joseph’s Orphanage in Lewiston for three years, from ages 7 to 9. At the
 orphanage, she lost her name and was instead called by a number: zero plus 12, or “zero plus douze” in
 French.



“There’s no movie that’s more scary than what we experienced. Right under everybody’s
noses. With a big crucifix around their necks.”




 Denise Godwin lived at St. Joseph’s Orphanage in Lewiston for three years, from ages 7 to 9. She grew up and went on to have four children of her
 own. “I wasn’t a loving mom. How could I give what I didn’t have?” she said.




 Girls from St. Joseph’s Orphanage in Lewiston sing in a choir in this undated photo. Some women have said the choir was one of the few bright spots
 during their years at the orphanage.



‘Oh my god, those were not nightmares. It really happened.’




 Suzette Lubier spent a year and a half at St. Joseph’s Orphanage in Lewiston. “I’m 71 and I’ve been dragging this along with me my whole lifetime
 and no one to talk about it with. No one could possibly understand the misery and the pain,” she said.


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 Julie Fortin Jipson, right, is pictured with her brother. She and a sister were later placed in St. Joseph’s Orphanage so her single father could work. She
 would live there for seven years.
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 Page one of Sister Diane Beaudon’s letter to the women of St. Joseph’s Orphanage.




 Page two of Sister Diane Beaudoin’s letter to the women of St. Joseph’s Orphanage.




 Girls from the St. Joseph’s Orphanage in Lewiston gather outside in this undated photo. Women from the orphanage say they were abused as children
 by the nuns who ran the institution.




 Faded writing on the front of the Marcotte Home in Lewiston proclaims a section of the building for St. Joseph’s Orphanage.


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